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  1 TIMOTHY J. YOO (State Bar. No. 155531)
      tjy@lnbyg.com
  2 CARMELA T. PAGAY (State Bar No. 195603)
      ctp@lnbyg.com
  3 LEVENE, NEALE, BENDER, YOO & GOLUBCHIK L.L.P.
    2818 La Cienega Avenue
  4 Los Angeles, CA 90034
    Telephone: (310) 229-1234
  5 Facsimile: (310) 229-1244
  6 Attorneys for Rosendo Gonzalez
      Chapter 7 Trustee
  7
  8                       UNITED STATES BANKRUPTCY COURT
  9
                           CENTRAL DISTRICT OF CALIFORNIA
 10
                                     LOS ANGELES DIVISION
 11
       In re
 12                                               Case No. 2:21-bk-17445-WB

 13    PARK PLACE MASTER TENANT, LLC,             Chapter 7

 14                                               CHAPTER 7 TRUSTEE’S MOTION TO
                             Debtor.              APPROVE COMPROMISE OF
 15                                               CONTROVERSY AND TO COMPEL
                                                  TURNOVER OF POSSESSION OF
 16                                               ITEMS RELATED TO REAL
 17                                               PROPERTY; MEMORANDUM OF
                                                  POINTS AND AUTHORITIES; AND
 18                                               DECLARATION IN SUPPORT
                                                  THEREOF
 19
                                                  Date: December 16, 2021
 20                                               Time: 2:00 p.m.
                                                  Place: Courtroom 1375
 21
                                                         Roybal Federal Building
 22                                                      255 E. Temple Street
                                                         Los Angeles, CA 90012
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  1         TO    THE      HONORABLE           JULIA      W.     BRAND,       UNITED      STATES

  2 BANKRUPTCY JUDGE:
  3         Rosendo Gonzalez, the chapter 7 trustee (the “Trustee”) for the bankruptcy estate of Park

  4 Place Master Tenant, LLC (the “Debtor”), hereby moves this Court for an order pursuant to
  5 Rule 9019 of the Federal Rules of Bankruptcy Procedure and Local Bankruptcy Rule 9013-1(d),
  6 approving the Settlement Agreement and General Releases (the “Agreement”) entered into by
  7 and between the Trustee and Colorado Boulevard-10212883, LLC (“CB1”), concerning their
  8 disputes concerning a pending state court action and certain foreclosures undertaken by CB1.
  9 The Trustee also hereby moves this Court for an order compelling the Debtor to turn over
 10 possession of all keys, access codes, and service contracts for the Hotel (as defined herein)
 11 pursuant to 11 U.S.C. § 542.
 12         The Agreement provides, in pertinent part, as follows:

 13         1.     Within 15 calendar days following entry of a Court order approving the

 14         Agreement or receiving possession of the commercial real property located at 880-940

 15         East Colorado Boulevard, Pasadena, California (the “Property”), whichever is later, CB1

 16         shall pay the Trustee the sum of $150,000 (the “Settlement Payment”).

 17         2.     Within 2 court days following entry of a Court order approving the Agreement,

 18         the Trustee shall withdraw the demurrer filed by the Debtor and stipulate to entry of

 19         judgment in the unlawful detainer action commenced by CB1 in the Superior Court of

 20         California, County of Los Angeles (the “State Court Action”). Upon request by CB1,

 21         the Trustee shall also sign a stipulation permitting the immediate appointment of a

 22         receiver to facilitate CB1’s efforts to recover possession of the Property.

 23         3.     Within 2 court days following entry of a Court order approving the Agreement,

 24         the Trustee shall turn over actual physical possession of the premises, all interior or

 25         exterior keys, keycards, key fobs, access codes, passwords, service contracts, full

 26         security system access (including passwords) a complete vendor list with contact

 27         information related to Hotel Constance (the “Hotel”) to CB1.

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  1          4.     Contemporaneously with the Settlement Payment, the Trustee shall deliver a bill

  2          of sale of all of the estate’s rights, title, and interest in the furniture, fixtures, and

  3          equipment located in the Hotel and anywhere else (“FF&E”) to CB1.

  4          5.     Subject to the receipt of the Settlement Payment, the Trustee shall waive all of

  5          the Debtor and the estate’s rights in that certain lease between Park Place Commercial,

  6          L.P., as landlord, and the Debtor dated as of July 28, 2014, as amended (the “Master

  7          Lease”) and, if requested by CB1, shall assign all of the estate’s rights in the Master

  8          Lease to CB1 or its assignee.

  9          6.     The Parties shall execute General Releases between themselves with respect to

 10          all known or unknown claims that each might have had against the other as of the date of

 11          the Settlement Payment is paid and the Bill of Sale regarding the FF&E is delivered to

 12          CB1.

 13          This Motion is made pursuant to Rule 9019 of the Federal Rules of Bankruptcy

 14 Procedure on the ground that the Trustee, in the exercise of his business judgment, has
 15 determined that the Agreement is in the best interests of the estate. The Agreement avoids the
 16 estate’s involvement in pending litigation and the need to pursue claims against CB1 while
 17 guaranteeing the receipt of a certain sum by the estate from assets whose ownership is disputed.
 18 Accordingly, the Trustee submits that the compromise is fair and reasonable and should,
 19 therefore, be approved by the Court.
 20          Moreover, the Debtor has listed the lease of the Hotel among its assets and is in

 21 possession of the keys, access codes, and service contracts related to the Hotel, which the
 22 Trustee has to tender to CB1 under the Agreement. Hence, turnover of such items to the Trustee
 23 is appropriate under section 542 of the Bankruptcy Code.
 24          In support of this Motion, the Trustee will rely on these moving papers, the

 25 Memorandum of Points and Authorities and Declaration of Rosendo Gonzalez attached hereto,
 26 the pleadings and orders on file in this bankruptcy case, and such other and further evidence and
 27 argument as may be made.
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  1       Accordingly, the Trustee respectfully requests that the Court enter an order:

  2       1.     Granting the Motion;

  3       2.     Approving the Agreement;

  4       3.     Authorizing and directing the Trustee and CB1 to take any other steps necessary

  5              to effectuate the Agreement;

  6       4.     Compelling the Debtor to turn over the keys, access codes, and service contracts

  7              related to the Hotel to the Trustee no later than five days after the order granting

  8              this Motion is entered; and

  9       5.     Providing such other and further relief as is just and proper.

 10
 11 DATED: November 23, 2021            LEVENE, NEALE, BENDER, YOO &
                                        GOLUBCHIK L.L.P.
 12
                                        By:/s/ Timothy J. Yoo
 13                                             TIMOTHY J. YOO
 14                                             CARMELA T. PAGAY
                                               Attorneys for Rosendo Gonzalez, Chapter 7 Trustee
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  1                     MEMORANDUM OF POINTS AND AUTHORITIES

  2                                                 I.

  3                                   FACTUAL BACKGROUND

  4          On September 23, 2021, Park Place Master Tenant, LLC (the “Debtor”) commenced its

  5 bankruptcy case by filing a voluntary petition for relief under chapter 11 of the Bankruptcy
  6 Code [Doc 1].
  7          On November 8, 2021, the Court entered an order converting the Debtor’s bankruptcy

  8 case to chapter 7 [Doc 36]. On November 9, 2021, a Notice of Appointment of Chapter 7
  9 Trustee was filed with the Court, reflecting the United States Trustee’s appointment of Rosendo
 10 Gonzalez as the chapter 7 trustee (the “Trustee”) of the Debtor’s bankruptcy estate [Doc 37].
 11          Listed in the Debtor’s Schedules of Assets and Liabilities (the “Schedules”) [Doc 23] are

 12 furniture, fixtures and equipment for Hotel Constance, a 161-room, full service hotel with
 13 restaurants, bar/lounge, pool and conference rooms. The foregoing furniture, fixtures and
 14 equipment are located at Hotel Constance (which is located at 908-928 East Colorado
 15 Boulevard, Pasadena, California and hereinafter referred to as the “Hotel”) and anywhere else
 16 owned by the Debtor are hereinafter referred to as the “FF&E.”
 17          On October 20, 2021, the Bankruptcy Court entered its order granting relief from stay to

 18 CB1 [Doc 31] to enforce its remedies to foreclose upon and obtain possession of the commercial
 19 real property located at 880-940 East Colorado Boulevard, Pasadena, California (“Property”).
 20 CB1 foreclosed on the Property on August 24, 2021. The Trustee’s Deed Upon Sale, which
 21 names CB1 as the grantee, was recorded with the Los Angeles County Recorder’s Office on
 22 August 30, 2021, as Inst. No. 20211326335 (the “Trustee’s Deed”).
 23          Following up on the foreclosure and to evict the occupants of the Property, CB1 filed a

 24 complaint for unlawful detainer with Superior Court of California, County of Los Angeles on
 25 September 16, 2021, thereby commencing case number 21PDUD00856 (the “State Court
 26 Action”). In response to the complaint, the Debtor filed a demurrer, which is currently
 27 scheduled to be heard on January 5, 2022 (the “Demurrer”).
 28



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  1         CB1 asserts that as part of the foreclosure on the Property, it concurrently foreclosed on

  2 the Debtor’s personal property, including the FF&E. The Trustee disputes this assertion.
  3         Following discussions, the Trustee and CB1 entered into a Settlement Agreement and

  4 General Releases (the “Agreement”) to settle their disputes, without any admission of liability,
  5 regarding the State Court Action, the validity of the foregoing foreclosures, and the extent of the
  6 claims and liens asserted by DB1 against the Debtor and the estate.
  7         The Agreement provides, in relevant part, as follows:

  8         1.      Within 15 calendar days following entry of a Court order approving the

  9         Agreement or receiving possession of the Property as described in the Agreement,

 10         whichever occurs later, CB1 shall pay the Trustee the sum of $150,000 (the “Settlement

 11         Payment”).

 12         2.      Within two court days following the entry of an order approving this Agreement,

 13         the Trustee shall withdraw the Demurrer and stipulate to entry of judgment in the State

 14         Court Action. Upon request by CB1, the Trustee shall also sign a stipulation permitting

 15         the immediate appointment of a receiver to facilitate CB1’s efforts to recover possession

 16         of the Property.

 17         3.      Within two court days following the entry of an order approving this Agreement,

 18         the Trustee shall turn over actual physical possession of the Hotel and items related to

 19         the operation of the Hotel to CB1.

 20         4.      Contemporaneously with the Settlement Payment, the Trustee shall deliver a bill

 21         of sale of all of the estate’s rights, title, and interest in FF&E to CB1.

 22         5.      Subject to the receipt of the Settlement Payment, the Trustee shall waive all of

 23         the Debtor and the estate’s rights in that certain lease between Park Place Commercial,

 24         L.P., as landlord, and the Debtor dated as of July 28, 2014 (the “Master Lease”) and if

 25         requested by CB1, shall assign all of the estate’s rights in the Master Lease to CB1 or its

 26         assignee.

 27         6.      The Parties shall execute General Releases between themselves with respect to

 28         all known or unknown claims that each might have had against the other as of the date of



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  1          the Settlement Payment is paid and the Bill of Sale regarding the FF&E is delivered to

  2          CB1.

  3 A true and correct copy of the Agreement is attached to the Declaration of Rosendo Gonzalez
  4 (“Gonzalez Decl.”) as Exhibit 1 and is incorporated herein by this reference.
  5                                                   II.

  6                         THE COMPROMISE SHOULD BE APPROVED

  7          A.     The Bankruptcy Rules Allow The Court To Approve Compromises Of

  8                 Controversies.

  9          Rule 9019 states that “the court may approve a compromise or settlement.” Fed. R.

 10 Bankr. P. 9019(a). The “may” language of Rule 9019 indicates that the approval or disapproval
 11 of a proposed settlement lies within the sound discretion of the Court. For the reasons set forth
 12 below, the Court should approve the proposed Agreement.
 13          B.     Case Law Supports Approval Of The Proposed Settlement.

 14          It is well-established that, as a matter of public policy, settlements are favored over

 15 continued litigation. See, e.g., In re A & C Properties, 784 F.2d 1377 (9th Cir. 1986); In
 16 re Blair, 538 F.2d 849, 851 (9th Cir. 1976); In re Heissenger Resources, Ltd., 67 B.R. 378,
 17 382 (C.D. Ill. 1986).
 18          The focus of inquiry in reviewing and approving compromises is whether the

 19 settlement is reasonable under the particular circumstances of the case. See In re General
 20 Store of Beverly Hills, 11 B.R. 539 (9th Cir. BAP 1981). It is not the bankruptcy judge’s
 21 responsibility to decide the numerous questions of law and fact with respect to the merits of
 22 the litigation, but rather to “canvas the issues and see whether the settlement falls below the
 23 lowest point of the range of reasonableness.” Heissenger Resources, supra, 67 B.R. at 383.
 24          Among the factors to be considered in determining whether a settlement is fair,

 25 equitable and reasonable are the following:
 26                 (a)     the probability of success in the litigation;

 27                 (b)     any impediments to collection;

 28                 (c)     the complexity, expense, inconvenience and



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  1                         delay of litigation; and

  2                 (d)     the interest of creditors with deference to

  3                         their reasonable opinions.

  4 See A & C Properties, supra, 784 F.2d at 1381.
  5          From an analysis of the foregoing factors, the Court should conclude that the terms of

  6 the Agreement are fair and equitable and well within the range of reasonableness.
  7          1.     The Probability Of Success Is Uncertain

  8          The Trustee is currently not a party to the State Court Action, nor does he have the

  9 resources to undertake such litigation. The Trustee also does not know with certainty that
 10 pursuing any claims of the Debtor and /or the estate against CB1 would be successful since
 11 CB1 had already foreclosed on the Property and there appears to be no rights remaining on
 12 the Master Lease. Accordingly, this element supports approval of the Agreement.
 13          2.     Impediments to Collection

 14          There is currently some dispute as to whether CB1 had foreclosed on the FF&E. If

 15 CB1 is correct, there would be nothing for the Trustee to administer (also since most of the
 16 FF&E are fixtures that are attached to the Hotel).
 17          On July 28, 2014, the Debtor's prior landlord Park Place Commercial (“PPC”) entered

 18 into a Lease with respect to the Hotel, which was amended on each of April 18, 2018 and
 19 July 28, 2018 (collectively, the "Master Lease"). Pursuant to the Master Lease, the Debtor,
 20 among other things, pledged all of its personal property assets to PPC as security for its rent
 21 (and other) obligations to said landlord thereunder (See Master Lease, Paragraph 19.8). The
 22 personal property assets pledged as security for the Master Lease expressly include, but are
 23 not limited to, the disputed FF&E that is the subject of and is to be transferred to CB1
 24 pursuant to the Settlement Agreement. The Master Lease also expressly contemplates,
 25 approves and permits PPC to pledge its security interest in the Debtor's assets to CB1's
 26 predecessor in connection with the Loan. (See Master Lease, Paragraph 20.1). A true and
 27 correct copy of the Master Lease is attached to the Gonzalez Decl. as Exhibit 2 and are
 28 incorporated herein by reference.



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  1          In July of 2018, CB1's predecessor made a loan to PPC in the principal amount of $42

  2 million dollars (the "Loan"). In conjunction with the Loan, PPC executed a Deed of Trust in
  3 favor of CB1's predecessor and granted CB1's predecessor a first priority security interest and
  4 lien upon the Property, as well as a full and complete assignment of all rents and leases
  5 arising from the Property, expressly including the Master Lease. The Debtor's Schedules
  6 estimate that PPC’s claim in this case was $9,000,000, which CB1 asserts was expressly
  7 secured by the FF&E at issue in the Settlement Agreement, and was one of the assets
  8 specifically foreclosed upon (and now owned by CB1) pursuant to its "unified" foreclosure
  9 sale that resulted in the recording of the Trustee's Deed that expressly transfers ownership
 10 and title to, among other things, both the Property and PPC’s secured rent claim to CB1.
 11 True and correct copies of the recorded Deed of Trust and the Trustee's Deed (which caused
 12 CB1 to become the sole owner of the Property and PPC’s secured $9,000,000 rent claim), are
 13 attached to the Gonzalez Decl. as Exhibits 3 and 4 and are incorporated herein by reference.
 14          As noted above, CB1 asserts that the FF&E at issue in the Settlement Agreement is

 15 already owned by CB1 pursuant to its "unified" foreclosure sale. CB1 further asserts that if
 16 its claim of ownership is technically "premature" and the FF&E is "only" pledged as
 17 collateral for CB1's newly acquired $9 million rent claim, the collateral has no incremental
 18 value to the Trustee and the transfer of the FF&E to CB1 (as contemplated by the Settlement
 19 Agreement) followed by a release of CB1's interest in the landlord's $9 million rent claim (as
 20 is, where is) is a very positive result to the estate and supports approval of the Agreement.
 21          3.     Complexity of Issues And Proceeding With Administration Would

 22                 Result In Additional Fees And Expenses For The Estate And Would Be

 23                 Inconvenient

 24          In lieu of settlement, the estate would have to get involved in the State Court Action

 25 and/or otherwise pursue claims against CB1 through litigation, which could be costly and time
 26 consuming, with no guarantee of a better result. Accordingly, this element supports approval of
 27 the Agreement.
 28



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  1           4.     Interest of Creditors

  2           The Agreement provides the estate with the certain sum of $150,000 without having to

  3 engage in litigation with CB1 or in efforts to administer, maintain, secure and insure assets with
  4 significantly disputed ownership.          Accordingly, this element supports approval of the

  5 Agreement.
  6           For these reasons, the Trustee has exercised sound business judgment in entering into the

  7 Agreement. The Trustee respectfully submits that the Agreement is in the best interest of the
  8 estate.
  9                                                   III.

 10           THE TRUSTEE IS ENTITLED TO TURNOVER OF THE PROPERTY

 11           Section 542 of the Bankruptcy Code provides for the turnover of property of the estate

 12 as follows:
 13                  (a) [A]n entity, other than a custodian, in possession, custody, or control,
                     during the case, of property that the trustee may use, sell or lease under
 14                  section 363 of this title . . . shall deliver to the trustee, and account for,
                     such property or the value of such property, unless such property is of
 15                  inconsequential value or benefit to the estate.
 16
      11 U.S.C. § 542(a).
 17
              Here, the Debtor is asserting control of the Hotel by locking up the premises and
 18
      posting a security guard. It also has possession of the keys, keycards, key fobs, access codes,
 19
      passwords, service contracts, full security system access (including passwords), and a
 20
      complete vendor list with contact information related to the Hotel, which the Trustee has to
 21
      tender to CB1 under the Agreement. Accordingly, the Debtor is required to deliver such
 22
      items to the Trustee pursuant to section 542 of the Bankruptcy Code.
 23
      IV.
 24
      CONCLUSION
 25
              Based upon the foregoing, the Trustee respectfully that the Court enter an order:
 26
              1.     Granting the Motion;
 27
              2.     Approving the Agreement;
 28



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  1       3.    Authorizing and directing the Trustee and CB1 to take any other steps necessary

  2             to effectuate the Agreement;

  3       4.    Compelling the Debtor to turn over the physical possession of the Hotel and all

  4             of the keys, keycards, key fobs, access codes, passwords, service contracts, full

  5             security system access (including passwords), and a complete vendor list with

  6             contact information access codes, and service contracts related to the Hotel to the

  7             Trustee no later than five days after the order granting this Motion is entered; and

  8       5.    Providing such other and further relief as is just and proper.

  9 DATED: November 23, 2021           LEVENE, NEALE, BENDER, YOO &
                                       GOLUBCHIK L.L.P.
 10
 11                                    By:/s/ Timothy J. Yoo
 12                                            TIMOTHY J. YOO
                                               CARMELA T. PAGAY
 13                                           Attorneys for Rosendo Gonzalez, Chapter 7 Trustee

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  1                         DECLARATION OF ROSENDO GONZALEZ

  2          I, Rosendo Gonzalez, declare as follows:

  3          1.     I am the chapter 7 trustee for the bankruptcy estate of Park Place Master

  4 Tenant, LLC. This Declaration is made in support of the foregoing “Chapter 7 Trustee’s
  5 Motion to Approve Compromise of Controversy” (the “Motion”). I have personal knowledge
  6 of the matters set forth herein and if called as a witness could and would testify competently
  7 thereto. Unless the context indicates otherwise, capitalized terms herein shall have the
  8 meaning as defined in the Motion.
  9          2.     By the attached motion, I am requesting authority to enter into and consummate

 10 the Settlement Agreement and General Release (the “Agreement”) that I entered into with CB1
 11 concerning our disputes. A true and correct copy of the Agreement is attached as Exhibit 1 and
 12 is incorporated herein by reference.
 13          3.     On September 23, 2021, the Debtor commenced its bankruptcy case by filing a

 14 voluntary petition for relief under chapter 11 of the Bankruptcy Code [Doc 1]. Listed in the
 15 Debtor’s Schedules of Assets and Liabilities (the “Schedules”) [Doc 23] are the FF&E. The
 16 Debtor has also listed the lease of the Hotel on its Schedules.
 17          4.     On November 8, 2021, the Court entered an order converting the Debtor’s

 18 bankruptcy case to chapter 7 [Doc 36]. On November 9, 2021, a Notice of Appointment of
 19 Chapter 7 Trustee was filed with the Court, reflecting my appointment by the United States
 20 Trustee as the chapter 7 trustee of the Debtor’s bankruptcy estate [Doc 37].
 21          5.     Immediately following my appointment, I inspected the Hotel on November 12,

 22 2021. I noted that the Debtor had posted a security guard.
 23          6.     I understand CB1 foreclosed on the Property on August 24, 2021 and that a

 24 Trustee's Deed Upon Sale was recorded on August 30, 2021 (the “Trustee’s Deed”). True and
 25 correct copies of the recorded Deed of Trust and the Trustee's Deed are attached as Exhibits 3
 26 and 4 and are incorporated herein by reference.
 27          7.     On October 20, 2021, the Court entered its order granting relief from stay to CB1

 28 [Doc 31] pursuant to, among other things, section 362(d)(4) to enforce its remedies to foreclose



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  1 upon and obtain possession of the Property.
  2          8.     Following up on the foreclosure and to evict the occupants of the Property, CB1

  3 commenced the State Court Action. I am informed that in response to the complaint, the Debtor
  4 filed a Demurrer. With my consent, the parties to the State Court Action continued the hearing
  5 to January 5, 2021, to provide sufficient time for this Motion to be considered.
  6          9.     CB1 asserts that as part of the foreclosure on the Property, it concurrently

  7 foreclosed on the Debtor’s personal property, including the FF&E. CB1’s detailed assertions
  8 are stated in the Motion. While I dispute this assertion, due to the Debtor’s pledge of the FF&E
  9 in the Master Lease to PPC and CB1’s rights against PPC, it is only a matter of time before the
 10 State Court finds in favor of CB1’s rights to the FF&E. True and correct copies of the Master
 11 Lease and the amendments are attached as Exhibit 2 and are incorporated herein by reference.
 12          10.    I believe that the terms of the Agreement are fair and equitable and well within

 13 the range of reasonableness. In lieu of settlement, the estate would have to get involved in the
 14 State Court Action and/or otherwise pursue claims against CB1 through litigation, which could
 15 be costly and time consuming, with no guarantee of a better result. It is also possible that the
 16 costs associated with retaining possession of the Hotel while litigating would be prohibitive, and
 17 force me to consider simply abandoning all the property, resulting in virtually no distribution to
 18 unsecured creditors. Here, the Agreement provides the estate with a certain sum of funds that
 19 will be used to pay allowed creditor claims and administrative expenses. It also likely eliminates
 20 the Debtor's former landlord's estimated $9 million rent claim - which should increase the pro
 21 rata share of the settlement proceeds to the allowed unsecured claimants. Therefore, I believe
 22 that I have exercised sound business judgment in entering into the Agreement at this time and
 23 respectfully request that it be approved by this Court.
 24          I declare under penalty of perjury under the laws of the United States of America that the

 25 foregoing is true and correct. Executed on this 23rd day of November, 2021, at Los Angeles,
 26 California.
 27                                                       __________________________
                                                          ROSENDO GONZALEZ
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                           EXHIBIT “1”
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               SETTLEMENT AGREEMENT AND GENERAL RELEASES


         This Settlement Agreement and General Releases (the “Agreement”) is entered into as of
November 22, 2021, by and between Rosendo Gonzalez, the duly appointed Chapter 7 Trustee
(the “Trustee”) for the bankruptcy estate (the “Estate”) of Park Place Master Tenant, LLC (the
“Debtor”), on the one hand, and Colorado Boulevard-10212883, LLC (“CB1”), on the other
hand. The Trustee and CB1 are referred to collectively as the “Parties” and each individually as
a “Party.” This Agreement is based upon the following facts, which each of the Parties confirms
is entirely true and accurate in every material respect:


                                          RECITALS

        A.     On September 23, 2021 (the “Petition Date”), the Debtor commenced a Chapter
11 bankruptcy case by filing a voluntary petition for relief under Chapter 11 of 11 U.S.C. § 101
et seq. (the “Bankruptcy Code”) in the United States Bankruptcy Court for the Central District
of California, Los Angeles Division (the “Bankruptcy Court”), thereby commencing the
bankruptcy case number 2:21-bk-17445-WB.

        B.      On November 8, 2021, the Bankruptcy Court converted the Debtor’s case to
Chapter 7, and a Notice of Appointment of Chapter 7 Trustee was filed with the Bankruptcy
Court, reflecting the United States Trustee’s appointment of Rosendo Gonzalez as the Chapter 7
Trustee in the Debtor’s case.

        C.      Listed in the Debtor’s Schedules of Assets and Liabilities (the “Schedules”) are
certain furniture, fixtures, personal property, equipment and other movable items located on site
at the Hotel Constance, a 161-room, full service hotel with restaurants, bar/lounge, pool and
conference rooms. The foregoing furniture, fixtures, personal property, equipment and other
movable items located at Hotel Constance (which is located at 908-928 East Colorado
Boulevard, Pasadena, California and hereinafter referred to the “Hotel”) and anywhere else
owned by the Debtor are hereinafter referred to as the “FF&E.”

        D.    On October 20, 2021, the Bankruptcy Court entered its Order granting relief from
stay to CB1 [Doc 31] to enforce its remedies to foreclose upon and obtain possession of the
commercial real property located at 880 – 940 East Colorado Boulevard, Pasadena, California
(the “Property”). CB1 foreclosed on the Property on August 24, 2021. The Trustee’s Deed
Upon Sale, which names CB1 as the grantee, was recorded with the Los Angeles County
Recorder’s Office on August 30, 2021, as Inst. No. 20211326335.

        E.     Following up on the foreclosure and to evict the occupants of the Property, CB1
filed a complaint for unlawful detainer with Superior Court of California, County of Los Angeles
(the “State Court Action”) on September 16, 2021, thereby commencing case number
21PDUD00856. In response to the complaint, the Debtor filed a demurrer, which is scheduled to
be heard on November 22, 2021 (the “Demurrer”).

       F.     CB1 asserts that as part of the foreclosure on the Property, it concurrently
foreclosed on all of the Debtor’s fixtures, furniture, personal property, equipment and other


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movable items, including the FF&E. The Trustee disputes this assertion.

       G.     The Parties desire to settle their disputes, without any admission of liability,
regarding the State Court Action, the validity of the foregoing foreclosures, ownership of the
FF&E, and the extent of the claims and liens asserted by CB1 against the Debtor and the Estate.

        NOW, THEREFORE, in consideration of the recitals, covenants and conditions in this
Agreement, and for other good and valuable consideration, the receipt and sufficiency of which
are hereby acknowledged, the Parties, intending to be legally bound, agree as follows:

                                          AGREEMENT

       1.      Incorporation of Recitals. The recitals set forth above are incorporated herein by
reference and is made part of this Settlement Agreement.

       2.     Payment. CB1 shall pay the Trustee the sum of One Hundred Fifty Thousand
Dollars ($150,000) (the “Settlement Payment”) within (a) 15 calendar days following the entry
of an order approving this Agreement or (b) the Trustee's compliance with Paragraph 4 below,
whichever occurs later (the “Settlement Payment Deadline”). The Settlement Payment shall be
made by cashier’s check payable to “Rosendo Gonzalez, Chapter 7 Trustee” and delivered to the
following address:

               Timothy J. Yoo
               Levene, Neale, Bender, Yoo & Golubchik L.L.P.
               2818 La Cienega Avenue
               Los Angeles, California 90034

         3.    State Court Action. The Trustee shall withdraw the Demurrer and stipulate to
entry of judgment in favor of CB1 in the State Court Action within two court days following the
entry of an order approving this Agreement. Until this Agreement is approved, the Parties shall
cooperate to postpone any hearing dates and extend related briefing schedules in the State Court
Action so as to preserve each party’s rights. Upon request by CB1, the Trustee shall also sign a
Stipulation in the State Court Action permitting the immediate appointment of a Receiver to
facilitate CB1’s efforts to recover possession of the Property.

        4.     Tendering Possession. Within two court days after the entry of an order
approving this Agreement, the Trustee shall deliver to CB1 or any designated agent of CB1 (a)
complete and actual physical possession of the Hotel, and (b) all interior or exterior keys,
keycards, key fobs, access codes, passwords, service contracts, full security system access
(including passwords) a complete vendor list with contact information (the “Turnover Items”)
then in his possession or control; provided, however, if the Trustee is unable to deliver to CB1 or
its designated agent complete and actual possession of the Hotel and Turnover Items within the
prescribed time, then the Trustee shall comply with the best efforts provisions provided in
Paragraph 11 below.

       5.     Transfer of FF&E. Contemporaneously with the receipt of the Settlement
Payment, the Trustee shall deliver a bill of sale of all of the Estate’s rights, title and interest in
the FF&E on an “as is” basis to CB1 in a form reasonably acceptable to CB1.


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        6.      Master Lease. Subject to the receipt of the Settlement Payment, the Trustee
hereby waives all of the Debtor and Estate’s rights in that certain Lease between Park Place
Commercial, L.P., as landlord, and the Debtor dated as of July 28, 2014, as amended (the
“Master Lease”). If requested by CB1, the Trustee shall assign all of the Debtor’s and the
Estate’s rights in the Master Lease to CB1 or its assignee.

        7.      Trustee’s Release of CB1. Except as set forth otherwise herein, and in
consideration of the mutual covenants, conditions, and promises set forth herein, upon the
Trustee’s receipt of the Settlement Payment as set forth in Section 2, above, the Trustee fully,
finally, and forever releases, relieves, and discharges CB1 and its past and present affiliates,
associated entities, parent companies, companies with shared ownership, subsidiaries, related
companies, executors, administrators, predecessors (including, but not limited to, the Original
Lender and the Loan Purchasers as those parties are identified in the complaint for unlawful
detainer in the State Court Action), successors, assigns, agents, owners, shareholders, investors,
members, representatives, managers, directors, officers, companies, partners, insurers,
controlling persons, advisors, employees, attorneys, accountants, and servicers of the Loan
identified in the complaint for unlawful detainer in the State Court Action (including, but not
limited to, KeyBank National Association and Situs Asset Management LLC) (collectively the
“CB1 Releasees”), of and from any and all actions, claims, causes of action, allegations, suits,
debts, demands, liabilities, damages, losses, sums of money, accounts, reckonings, obligations,
costs (including attorney’s fees), expenses, liens, covenants, agreements, contracts and promises,
of any kind or nature, in law or in equity, which either may have or have had, whether or not
they have been subject to dispute and whether or not known or unknown, suspected or
unsuspected, asserted or unasserted, by reason of any matter, or cause whatsoever, arising out of
any known or unknown fact, condition, or incident occurring prior to the date of the Trustee’s
receipt of the Settlement Payment, provided, however, that this release shall not extend to any
action or claim arising out of the enforcement of this Agreement. The Trustee makes the
foregoing releases in his capacity as the Trustee and the Estate.

        8.     CB1’s Release of the Trustee. Except as set forth otherwise herein, and in
consideration of the mutual covenants, conditions, and promises set forth herein, upon the
Trustee’s receipt of the Settlement Payment as set forth in Section 2, above, CB1 fully, finally,
and forever releases, relieves, and discharges the Trustee, the Estate, and each of their advisors,
employees, attorneys, and accountants (collectively the “Trustee Releasees”), of and from any
and all actions, claims, causes of action, allegations, suits, debts, demands, liabilities, damages,
losses, sums of money, accounts, reckonings, obligations, costs (including attorney’s fees),
expenses, liens, covenants, agreements, contracts and promises, of any kind or nature, in law or
in equity, which either may have or have had, whether or not they have been subject to dispute
and whether or not known or unknown, suspected or unsuspected, asserted or unasserted, by
reason of any matter, or cause whatsoever, arising out of any known or unknown fact, condition,
or incident occurring prior to the date of the Trustee’s receipt of the Settlement Payment,
provided, however, that this release shall not extend to any action or claim arising out of the
enforcement of this Agreement. CB1 makes the foregoing releases on behalf of itself and each
of its past and present affiliates, associated entities, parent companies, companies with shared
ownership, subsidiaries, related companies, executors, administrators, predecessors, successors,
assigns, agents, owners, shareholders, investors, members, representatives, managers, directors,
officers, companies, partners, insurers, controlling persons, advisors, employees, attorneys, and


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accountants.

        9.     Release of Unknown Claims. The Parties understand and agree that the released
claims include not only claims presently known to them, but also include all unknown or
unanticipated claims, rights, demands, actions, obligations, liabilities, and causes of action of
every kind and character that would otherwise come within the scope of the released claims
described in Section 7. The Parties understand that they may hereafter discover facts different
from what they now believe to be true, which if known, could have materially affected this
Agreement, but they nevertheless waive any claims or rights based on different or additional
facts. The Parties knowingly and voluntarily waive any and all rights or benefits that they may
now have, or in the future may have, under the terms of California Civil Code section 1542,
which provides as follows:

               A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS THAT
               THE CREDITOR OR RELEASING PARTY DOES NOT KNOW OR
               SUSPECT TO EXIST IN HIS OR HER FAVOR AT THE TIME OF
               EXECUTING THE RELEASE AND THAT, IF KNOWN BY HIM OR
               HER, WOULD HAVE MATERIALLY AFFECTED HIS OR HER
               SETTLEMENT WITH THE DEBTOR OR RELEASED PARTY.


         10.     Bankruptcy Court Approval. Promptly after the execution of this Agreement by
both Parties, the Trustee shall file a motion, pursuant to Rule 9019 of the Federal Rules of
Bankruptcy Procedure, seeking the entry of the Order approving, and authorizing the Trustee to
enter into, the Agreement. If the Bankruptcy Court does not approve this Agreement then this
Agreement shall be deemed null and void and of no force and effect, and the Parties shall retain
all rights, claims and/or defenses that they may have against each other.

        11.    Further Assurances. The Parties agree to perform such acts and to prepare,
execute, deliver, file, and record any documents or agreements reasonably required to perform
under and satisfy the conditions in this Agreement, or to give full force and effect to this
Agreement. The Trustee acknowledges and agrees that his obligations under this Agreement
include his obligation to use his ongoing best efforts to obtain from the Debtor and to turn over
to CB1 both complete and actual physical possession of the Hotel and all of the Turnover Items.
Should the Trustee, in consultation with his counsel, believe that such best efforts will require
significant additional attorneys’ fees and expenses on his part to obtain full possession of the
Hotel and all of the Turnover Items to CB1's satisfaction, then the Trustee shall provide CB1
with a written budget for the estimated attorneys’ fees and expenses to be incurred by the Trustee
in connection with such efforts, and shall undertake them if CB1 subsequently agrees to
reimburse the Trustee for the actual and reasonable attorneys’ fees and expenses he incurs up to
the amounts included in the written budget provided to CB1.

       12.     Complete Agreement. This Agreement supersedes any and all other agreements,
understandings, negotiations or discussions, either oral or in writing, express or implied between
the Parties concerning settlement. The Parties to this Agreement each acknowledge that no
representations, inducements, promises, agreements or warranties, oral or otherwise, have been
made by them or any of them, or anyone acting on their behalf which are not embodied in this
Agreement, that they have not executed this Agreement in reliance on a representation,


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inducement, promise, agreement or warranty, and that no representation, inducement, promise,
agreement or warranty not contained in this Agreement including any purported supplements,
modifications, waivers or terminations of this Agreement shall be valid or binding, unless
executed in writing by all of the Parties to this Agreement.

       13.    Amendment. No modification or amendment of any term or provision of this
Agreement shall be valid unless such modification or amendment is in writing and has been
signed by both Parties.

         14.    Terms Read and Understood. Each of the Parties hereby certifies that it (i) has
read the entire Agreement, (ii) has conferred with legal counsel pertaining to this Agreement,
(iii) fully understands all of the terms of this Agreement, and (iv) acknowledges and represents
that he enters into this Agreement and all other contemplated documents of its own free will and
not due to any oral representation, commitment, promise, pressure, or duress from any other
party.

        15.    Successors. Each covenant in this Agreement shall inure to the benefit of and be
binding upon the Parties and their respective heirs, successors, assigns, agents, representatives
(past and present), and legal and personal representatives.

         16.     Construction. As used in this Agreement, the masculine and feminine gender, in
the singular or plural, shall be deemed to include the others whenever the text so requires. The
term “including” in any form shall not be limiting and shall be construed to mean “including, but
not limited to.” Captions and paragraph headings are inserted solely for convenience and shall
not be deemed to restrict or limit the meaning of text. The language of all parts of this
Agreement shall in all cases be construed as a whole, according to its fair meaning and not
strictly for or against either of the Parties.

        17.     Interpretation. This Agreement and any ambiguities or uncertainties herein, shall
be equally and fairly interpreted and construed without reference to the identity of the Party or
Parties preparing, drafting or proposing the provisions hereof or the documents referred to
herein, on the express understanding and agreement that the Parties participated equally in the
negotiation and preparation of the Agreement, or have had equal opportunity to do so.
Accordingly, the Parties hereby waive the benefit of California Civil Code Section 1654 and any
successor or amended statute, providing that in cases of uncertainty, language of a contract
should be interpreted most strongly against the Party who caused the uncertainty to exist. Each
of the Parties has cooperated in the drafting and preparation of the Agreement.

        18.     Governing Law; Enforceability. This Agreement shall be governed by and
construed in accordance with the internal substantive laws of the State of California, without
giving effect to the principles of conflicts of law thereof, and applicable bankruptcy law. Each of
the Parties agrees that as long as the Debtor’s bankruptcy case remains open, any dispute, claim
or controversy arising out of or relating to this Agreement shall be heard in the Bankruptcy Court
and that the Bankruptcy Court has exclusive jurisdiction thereof. If the Debtor’s bankruptcy case
is closed, then any court of competent jurisdiction may resolve any dispute, claim or controversy
arising out of or relating to this Agreement.

       19.     Severability. If any provision of this Agreement is determined to be invalid, void,


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                           EXHIBIT “2”
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                                   LEASE

                                   Between

                    PARK PLACE COMMERCIAL, L.P.,
                      a California limited partnership,

                                  Landlord,

                                     and

                   PARK PLACE MASTER TENANT, LLC,
                    a California limited liability company,

                                   Tenant.

                             Dated: July 28, 2014




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                                             LEASE

       THIS LEASE AGREEMENT (the “Lease”) is made and entered into as of July 28,
2014, by and between PARK PLACE COMMERCIAL, L.P., a California limited partnership
(hereinafter referred to as “Landlord”), and PARK PLACE MASTER TENANT, LLC, a
California limited liability company (hereinafter referred to as “Tenant”).

                                          RECITALS

        1.      Landlord currently is the owner of the land, legally described in Exhibit A-1
attached hereto and made a part hereof, and the improvements located thereon commonly known
as the Hotel Constance Building situated in Pasadena, California, and shortly to be operated as a
hotel, described in Exhibit A-2 attached hereto and made a part hereof, plus additional
commercial space, together with all improvements and personal property now located thereon or
to be located thereon during the Term (as hereinafter defined), (the “Building”), together with all
appurtenances, easements, rights of way and other rights belonging to or in any way pertaining to
the said premises (such real estate, improvements, personal property, appurtenances, easements,
rights of way and other rights hereinafter referred to as the “Premises”).

       2.      The Building is currently subject to various contracts relating to its operation,
including, without limitation, as described in Exhibit C hereto, (the “Operating Contracts”).
The Operating Contracts have been previously delivered to Tenant by Landlord and all have
been or are being assigned to and assumed by Tenant.

        3.     Landlord intends to rehabilitate the Building in a manner that qualifies for the
historic rehabilitation tax credit allowed for qualified rehabilitation expenditures incurred in
connection with the “certified rehabilitation” of a “certified historic structure” (the “Historic
Tax Credit”) pursuant to Section 47 of the Internal Revenue Code of 1986, as amended (the
“Code”).

         4.      Tenant desires to lease the rehabilitated Building (the “Leased Property”), from
Landlord pursuant to the terms of this Lease, to sublease portions of the Leased Property
pursuant to subleases with commercial tenants (such leases, are referred to herein as the
“Commercial Leases”) and to hold, maintain, operate, and eventually sell or otherwise dispose
of its interest in the Leased Property hereunder (the “Leasehold Interest”).

        5.     Concurrently with the execution of this Lease, the parties are executing an
agreement relating to the pass-through of the Historic Tax Credit arising from the rehabilitation
of the Building to Tenant by Landlord (the “HTC Pass-Through Agreement”).

       NOW, THEREFORE, in consideration of the mutual covenants and conditions contained
herein and other good and valuable consideration, the receipt and sufficiency of which are
hereby acknowledged, the parties hereby agree as follows:

                                          ARTICLE 1
                                         DEFINITIONS



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      Capitalized terms used herein and not otherwise defined shall have the following
meanings:

            “Additional Rent” shall have the meaning set forth in Section 4.3.

        “Adverse Consequences” means all actions, suits, proceedings, hearings, investigations,
charges, complaints, claims, demands, injunctions, judgments, orders, decrees, rulings, damages,
dues, penalties, fines, costs, reasonable amounts paid in settlement, liabilities, obligations, taxes,
liens, losses, expenses and fees, including court costs and reasonable attorneys’ fees and
expenses.

        “Affiliate” means, with respect to a specified Person, (i) any Person directly or indirectly
controlling, controlled by or under common control with the Person specified, (ii) any Person
owning or controlling 10% or more of the outstanding voting securities or beneficial interests of
the Person specified, (iii) any officer, director, partner, trustee or member of the immediate
family of the Person specified, (iv) if the Person specified is an officer, director, general partner
or trustee, any corporation, partnership or trust for which that Person acts in that capacity or (v)
any Person who is an officer, director, general partner, trustee or holder of 10% or more of
outstanding voting securities or beneficial interests of any Person described in clauses (i) through
(iv). The term “control” (including the terms “controlled by” and “under common control with”)
means the possession, direct or indirect, of the power to direct or cause the direction of the
management and policies of a Person, whether through the ownership of voting securities, by
contract or otherwise.

            “Base Rent” shall have the meaning set forth in Section 4.1.

            “Building” shall have the meaning set forth in the Recitals.

            “Building Systems Equipment” shall have the meaning set forth in Section 8.4.

            “CERCLA” shall have the meaning set forth in Section 28.1(b).

            “Claim” shall have the meaning set forth in Section 28.1(a).

            “Code” shall have the meaning set forth in the Recitals.

            “Collateral” shall have the meaning set forth in Section 19.9.

            “Commencement Date” shall have the meaning set forth in Section 3.1.

            “Commercial Leases” shall have the meaning set forth in the Recitals.

            “Covenants” shall have the meaning set forth in Section 8.3(b).

            “Default” shall have the meaning set forth in Section 19.1.




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        “Designated Prime Rate” means the prime rate of interest published from time to time in
the Wall Street Journal or other source as the parties may agree, adjusted as such prime rate
adjusts.

      “Election” shall have the meaning set forth in Section 2(a) of the HTC Pass Through
Agreement.

         “Entity” means any general partnership, limited partnership, corporation, joint venture,
trust, limited liability company, business trust, cooperative or association.

            “Environmental Laws” shall have the meaning set forth in Section 28.1(b).

        “Environmental Reports” means the following environmental reports: (i) that certain
Phase I Environmental Site Assessment Report performed at 908-940 East Colorado Blvd.,
Pasadena, CA prepared for East West Bank by Andersen Environmental dated January 4, 2011,
(ii) that certain Phase II Environmental Site Assessment Report performed at 908-940 East
Colorado Blvd., Pasadena, CA prepared for East West Bank by Andersen Environmental dated
March 2, 2011, and (iii) that certain Phase I Environmental Site Assessment Report performed at
940 East Colorado Blvd., Pasadena, CA, prepared for Law Offices of Philip Kim, APC by
Anderson Environmental dated June 18, 2014, with reliance letter dated July 11, 2014.

            “Event of Bankruptcy” or “Bankruptcy” means, as to a specified Person:

        (i)    the entry of a decree or order for relief by a court having jurisdiction in the
premises in respect of such Person in an involuntary case under the federal bankruptcy laws, as
now or hereafter constituted, or any other applicable federal or state bankruptcy, insolvency or
other similar law, or appointing a receiver, liquidator, assignee, custodian, trustee, sequestrator
(or similar official) of such Person or for any substantial part of his property, or ordering the
winding-up or liquidation of his affairs and such decree or order is not dismissed within ninety
(90) consecutive days; or

        (ii)    the commencement by such Person of a voluntary case under the federal
bankruptcy laws, as now constituted or hereafter amended, or any other applicable federal or
state bankruptcy, insolvency or other similar law, or the consent by him to the appointment of or
taking possession by a receiver, liquidator, assignee, trustee, custodian, sequestrator (or similar
official) of such Person or for any substantial part of his property, or the making by him of any
assignment for the benefit of creditors, or the taking of action by the Person in furtherance of any
of the foregoing.

            “Existing Equipment” shall have the meaning set forth in Section 8.4.

            “Expiration Date” shall have the meaning set forth in Section 3.1.

            “FF&E” shall have the meaning set forth in Section 8.6.

            “FIFRA” shall have the meaning set forth in Section 28.1(b).




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        “Force Majeure” means any delay or failure in performance caused by acts beyond a
Person’s reasonable control, including, without limitation, acts of God, war, vandalism, sabotage,
accidents, fires, floods, strikes, labor disputes, mechanical breakdown, shortages or delays in
obtaining suitable parts or equipment, material, labor, or transportation, acts of subcontractors,
interruption of utility services, acts of any Governmental Authority, or any similar cause.

        “Governmental Authority” means any state, federal, local, municipal or other
governmental authority, agency, or licensing authority of any kind having jurisdiction over the
particular matter to which reference is being made, including any federal, state or local taxing
authority or so-called “business improvement district” or similar Entity or organization.

            “Hazardous Materials” shall have the meaning set forth in Section 28.1(c).

            “Historic Tax Credit” shall have the meaning set forth in the Recitals.

            “HTC Pass-Through Agreement” shall have the meaning set forth in the Recitals.

       “Hotel Management Agreement” means the Hotel Management Agreement dated as of
September 12, 2012, by and between Landlord and Dusit Thani Public Company Limited (“Dusit
Thani”), as may be amended from time to time, and as assigned by Dusit Thani to the Hotel
Manager pursuant to that certain Assignment and Assumption of Hotel Management Agreement
dated December 12, 2012, as further assigned by Landlord to Tenant pursuant to that certain
Assignment and Assumption Agreement of Hotel Management Agreement dated as of July 9,
2014.

            “Hotel Manager” means Dusit USA Management Company Inc., and its successors.

            “Impositions” shall have the meaning set forth in Section 5.2.

       “Landlord” shall have the meaning set forth in the heading of this Lease and shall include
any successor thereto.

            “Landlord’s Work” shall have the meaning set forth in Section 8.1(a).

            “Leased Property” shall have the meaning set forth in the Recitals.

            “Leasehold Interest” shall have the meaning set forth in the Recitals.

            “Lease Termination Notice” shall have the meaning set forth in Section 3.3.

            “Lease Termination Payment” shall have the meaning set forth in Section 3.3(a).

            “Lease Year” shall have the meaning set forth in Section 3.2.

            “Manage” shall have the meaning set forth in Section 28.1(d).

            “Monthly Base Rent” shall have the meaning set forth in Section 4.1.

            “Mortgage” shall have the meaning set forth in Section 20.1(a).

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        “Operating Agreement of Tenant” means the Operating Agreement of Tenant dated as of
the date hereof, as amended.

            “Operating Contracts” shall have the meaning set forth in the Recitals.

        “Person” means any individual or Entity, and the heirs, executors, administrators, legal
representatives, successors and assigns of such Person where the context so admits; and, unless
the context otherwise requires, the singular shall include the plural, and the masculine gender
shall include the feminine and the neuter and vice versa.

            “Possession Date” shall have the meaning set forth in Section 3.1.

            “Premises” shall have the meaning set forth in the Recitals.

       “QRE” means “qualified rehabilitation expenditures” as such term is defined in Section
47(c)(2) of the Code.

            “RCRA” shall have the meaning set forth in Section 28.1(b).

            “Release” shall have the meaning set forth in Section 28.1(e).

            “Rent” shall have the meaning set forth in Section 4.2.

            “Response” shall have the meaning set forth in Section 28.1(f).

       “Tenant’s Investor Member” means East West Bancorp, Inc., a Delaware corporation, its
successors and assigns.

            “Tenant’s Share of Impositions” shall have the meaning set forth in Section 5.1.

            “Term” shall have the meaning set forth in Section 3.1.

            “TSCA” shall have the meaning set forth in Section 28.1(b).

                                         ARTICLE 2
                                GRANT OF LEASE; ASSIGNMENTS

            Section 2.1    Lease

        Landlord hereby leases and demises to Tenant, and Tenant hereby leases from Landlord,
subject to and with the benefit of the terms, covenants, conditions and provisions set forth herein,
the Leased Property.

            Section 2.2    Assignment of Existing Leases

       Landlord represents to Tenant that there are no existing lease agreements entered into by
Landlord with respect to the Leased Property.

            Section 2.3    Assignment of Operating Contracts

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       (a)    Landlord represents to Tenant that prior to the date hereof Landlord entered into a
technical consultancy agreement related to the planning, design and furnishing of the Leased
Property. The only Operating Agreements related to the Leased Property are reflected on
Exhibit C.

       (b)     Landlord hereby assigns to Tenant all its right, title and interest in and to each of
such Operating Contracts and Tenant hereby assumes all of the obligations of Landlord under
each of those Operating Contracts, in each case effective as of the Possession Date (as defined
below). Landlord hereby represents to Tenant that no defaults exist under any of such Operating
Contracts and that all consents and notices necessary for the assignment and assumption
described in this paragraph have been obtained.

       (c)    Landlord covenants and agrees to indemnify, save and hold harmless Tenant from
and against any and all Adverse Consequences arising out of or related to Landlord’s failure to
perform any of its obligations under any of the Operating Contracts prior to the Possession Date.

       (d)    Tenant covenants and agrees to indemnify, save and hold harmless Landlord from
and against any and all Adverse Consequences arising out of or related to Tenant’s failure to
perform any of its obligations under any of the Operating Contracts from and after the
Possession Date.

        (e)    Landlord and Tenant hereby agree that upon termination of the Lease as provided
hereunder or upon expiration of the Term, all assignments of Operating Contracts then in effect
shall automatically terminate.

                                         ARTICLE 3
                                      TERM; POSSESSION

            Section 3.1   Term

        The term of this Lease (hereinafter referred to as the “Term”) shall commence upon the
completion of Landlord’s Work, as set forth in Section 8.1 hereof, with Landlord providing
written notice to Tenant to definitively establish the date on which the term commences,
(hereinafter, as the same may be adjusted as hereinafter provided, referred to as the
“Commencement Date”) and end on the later of (i) December 31, 2046 or (ii) the 32nd
anniversary of the Possession Date as defined below (hereinafter, as the same may be adjusted as
hereinafter provided, referred to as the “Expiration Date”), unless sooner terminated as
provided herein. Tenant shall be entitled to possession of the Leased Property upon the
completion of Landlord’s Work, as set forth in Section 8.1 hereof (but not later than immediately
prior to the Credit Commencement Date (as defined in the Operating Agreement of Tenant) with
respect to any QRE’s) or such earlier date agreed to by the parties (the “Possession Date”). The
making of the Election with respect to a particular year shall conclusively evidence the
occurrence of the Possession Date with respect to QRE’s claimed in such tax year. Upon request
of the other, Landlord and Tenant each agrees to provide written confirmation of the date
constituting the Possession Date.

            Section 3.2   Lease Year Defined


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        As used in this Lease, the term “Lease Year” shall mean (i) if the Commencement Date
is the first day of a calendar month, the twelve (12) month period commencing on the
Commencement Date or (ii) if the Commencement Date is not the first day of a calendar month,
the period commencing on the Commencement Date and ending on the last day of the twelfth
(12th) full calendar month of the Term, and, in either case, each succeeding twelve (12) month
period thereafter which falls in whole or in part during the Term.

            Section 3.3   Landlord’s Termination Option

        (a)     Notwithstanding the aforesaid Term, in the event of a sale or other direct or
indirect transfer of all of Landlord’s interest in the Leased Property to an unrelated buyer on
arms’ length terms, but in no other case, and except as set forth in the next paragraph, Landlord
shall have the right to terminate this Lease upon the giving of notice thereof in writing to Tenant
(“Lease Termination Notice”). The termination of the Lease shall be effective sixty (60) days
from and after the giving of the Lease Termination Notice provided that Landlord shall have
made to Tenant a payment (the “Lease Termination Payment”) equal to thirty percent (30%) of
the amount by which the proceeds received by Landlord from the sale or other transfer of its
interest in the Leased Property (net of any transactional or closing costs paid to third parties in
connection with such sale or other transfer) exceeds Forty-Eight Million Dollars ($48,000,000).
In the event that the consideration to be received by Landlord in connection with such sale or
other transfer is to be paid over time, the Lease Termination Payment shall be paid in
installments (and evidenced by a note setting forth Landlord’s obligations in connection
therewith) proportionate to such payments as are scheduled to be received from time to time.

        (b)    Notwithstanding the preceding paragraph, the Property may not be sold or
transferred and the Lease may not be terminated prior to the fifth anniversary of the date on
which the last “qualified rehabilitation expenditures” as such term is defined in Section 47(c)(3)
of the Code (“QRE”) with respect to the Building are first placed in service without the prior
written consent of Tenant signed by all the partners or members of Tenant. In addition, the
Lease may not be terminated during the period in which the Tenant’s Investor Member remains
as a member of Tenant.

                                          ARTICLE 4
                                          BASE RENT

            Section 4.1   Base Rent

        (a)     Subject to and in accordance with Section 4.2, Tenant shall pay an annual base
rent (hereinafter referred to as “Base Rent”) to Landlord for the Leased Property per Lease Year,
in the amounts set forth below, payable in equal monthly installments (hereinafter referred to as
“Monthly Base Rent”), in the amounts set forth below, (pro rated for any month that is not full a
month) payable in advance on the first day of each month:

                YEAR                       BASE RENT                   MONTHLY BASE RENT

                 2014                         $50,000                         $8,333.34




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            YEAR                  BASE RENT             MONTHLY BASE RENT

            2015                   $1,613,137                $268,856.16

            2016                   $3,942,466                $328,538.83

            2017                   $4,993,456                $416,121.33

            2018                   $5,143,260                 $428,605

            2019                   $5,297,558                $441,463.16

            2020                   $5,456,485                $454,707.08

            2021                   $5,620,179                $468,348.25

            2022                   $5,788,784                $482,398.66

            2023                   $5,904,560                $492,046.66

            2024                   $5,963,606                $496,967.16

            2025                   $6,112,696                $509,391.33

            2026                   $6,265,513                $522,126.08

            2027                   $6,422,151                $535,179.25

            2028                   $6,582,705                $548,558.75

            2029                   $6,747,273                $562,272.75

            2030                   $6,915,954                $576,329.50

            2031                   $7,088,853                $590,737.75

            2032                   $7,266,075                $605,506.25

            2033                   $7,447,726                $620,643.83

            2034                   $7,633,920                $636,160.00

            2035                   $7,824,768                $652,064.00

            2036                   $8,020,387                $668,365.58

            2037                   $8,220,896                $685,074.66

            2038                   $8,426,419                $702,201.58

            2039                   $8,637,079                $719,756.58




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                YEAR                      BASE RENT                  MONTHLY BASE RENT

                 2040                         $8,853,006                   $737,750.50

                 2041                         $9,074,331                   $756,194.25

                 2042                         $9,301,190                   $775,099.16

                 2043                         $9,533,719                   $794,476.58

                 2044                         $9,772,062                   $814,338.50

                 2045                     $10,016,364                      $834,697.00

                 2046                     $10,266,773                      $855,564.41




            Section 4.2   Manner of Payment

       Base Rent and Tenant’s Share of Impositions (as hereinafter defined) and all other
amounts becoming due from Tenant to Landlord hereunder (hereinafter collectively referred to
as “Rent”) shall be paid in lawful money of the United States to Landlord at the office of
Landlord, or as otherwise designated from time to time by written notice from Landlord to
Tenant. Payment of the Base Rent for the year in which the Possession Date occurs shall begin
on the first day of the month following the month any portion of the Building is open for
business and shall be prorated among the remaining months in that year based on the number of
months it is payable.

            Section 4.3   Net Lease

        This Lease is what is commonly called a “net lease,” it being understood that Landlord
shall receive the Base Rent set forth in Section 4.2 hereof free and clear, after the Possession
Date, of any and all other Impositions (as defined in Section 5.2 below), taxes, assessments,
liens, charges or expenses of any nature whatsoever in connection with the ownership,
maintenance, repair and operation of the Leased Property, except as otherwise provided herein.
From and after the Possession Date, Tenant shall be solely responsible for and shall pay all
insurance premiums, operating charges, maintenance charges, construction costs, rental under
equipment or similar leases, and any other charges, costs and expenses which arise or may be
contemplated under any provisions of this Lease during the portion of the Term following the
Possession Date. All of such charges, costs and expenses when due shall constitute additional
rent (“Additional Rent”), even though not necessarily payable to Landlord, and upon the failure
of Tenant to pay any of such costs, charges or expenses, Landlord shall have the same rights and
remedies as otherwise provided in this Lease for the failure of Tenant to pay Base Rent. Base
Rent, Additional Rent and all other sums payable hereunder by Tenant shall be paid (except as
otherwise provided for herein) without notice or demand and without setoff, counterclaim,
abatement, suspension, deduction or defense. Nothing herein contained shall obligate Tenant for
the payment of any expenses payable by Landlord pursuant to Section 7.4 hereinbelow or any
income or franchise taxes payable by Landlord under applicable law.

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            Section 4.4   No Termination

        (a)     Except as otherwise expressly provided herein, this Lease shall not terminate, nor
shall Tenant have any right to terminate this Lease, nor shall Tenant be entitled to any abatement
or reduction of Rent hereunder, nor shall the obligations of Tenant hereunder be affected, by
reason of any default on the part of Landlord under this Lease, or under any other agreement to
which Landlord and Tenant may be parties. It is the intention of the parties hereto that the
obligations of Tenant hereunder shall be separate and independent covenants and agreements,
that the Rent, and all other sums payable by Tenant hereunder shall continue to be payable in all
events and that the obligations of Tenant hereunder shall continue unaffected, unless the
requirement to pay or perform the same shall have been terminated pursuant to an express
provision of this Lease. Nothing herein shall preclude Tenant from pursuing or realizing upon its
other remedies at law or in equity by reason of any default hereunder by Landlord.

       (b)     Tenant agrees that it will remain obligated under this Lease in accordance with its
terms, and that it will not take any action to terminate, rescind or avoid this Lease,
notwithstanding (i) the Bankruptcy of Landlord or any assignee of Landlord (provided, however,
Landlord hereby represents that no Event of Bankruptcy has occurred as to Landlord as of even
date herewith), and (ii) any action with respect to the Lease which may be taken by any trustee or
receiver of Landlord or of any assignee of Landlord in any such proceeding or by any court in
any such proceeding; provided that this Lease is not effectively disaffirmed in such proceedings
and Tenant receives reasonable assurance thereof within a reasonable period of time following
the commencement of such proceedings.

       (c)    Tenant waives all rights which may now or hereafter be conferred by law (except
by a final and binding judicial determination by a court of competent jurisdiction) (i) to quit,
terminate or surrender this Lease or the Leased Property or any part thereof, or (ii) to any
abatement, suspension, deferment or reduction of Rent, Additional Rent or any other sums
payable under this Lease, except as otherwise expressly provided herein.

                                            ARTICLE 5
                                           IMPOSITIONS

            Section 5.1   Obligation To Pay Tenant’s Share of Impositions

       In addition to paying the Base Rent specified in Article 4 hereof, from and after the
Possession Date, for so much of the Term as follows the Possession Date, Tenant shall also pay
Landlord, as additional rent, the amounts determined in accordance with this Article 5
(hereinafter referred to as “Tenant’s Share of Impositions”).

            Section 5.2   Payment by Tenant

        For each calendar year during which any portion of the Term following the Possession
Date falls, Tenant shall pay Landlord, as additional rent for the Leased Property, “Tenant’s
Share of Impositions.” For purposes hereof, Tenant’s Share of Impositions for any such
calendar year shall mean all Impositions for such year (or portion of such year following the
Possession Date). The term “Impositions” shall mean all taxes and assessments, general and
special, water rates and all other impositions, ordinary and extraordinary, of every kind and

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nature whatsoever, which may be levied, assessed, charged or imposed during the Term of the
Lease (following the Possession Date) upon the Leased Property, or any part thereof, or upon
any improvements at any time situated thereon, including, without limitation, any assessment by
any association of owners of property in the complex of which the Leased Property are a part.
Impositions shall also include fees and costs incurred by Landlord pursuant to Section 5.6
hereinbelow during the Lease Term for the purpose of contesting or protesting tax assessments or
rates, to the extent such fees and costs relate to savings anticipated by Landlord during the Term
of the Lease. Impositions “for” a given calendar year shall mean Impositions which are due for
payment or paid in such calendar year, regardless of when the same are assessed.

            Section 5.3   Alternative Taxes

        If at any time during the Term the method of taxation prevailing at the commencement of
the Term hereof shall be altered so that any new tax, assessment, levy, imposition or charge, or
any part thereof, shall be measured by or be based in whole or in part upon the Lease or the
Leased Property or the Base Rent or Additional Rent or other income therefrom, and shall be
imposed upon Landlord, then all such taxes, assessments, levies, impositions or charges, or the
part thereof, to the extent that they are so measured or based, shall be deemed to be included
within the definition of Impositions for the purposes hereof to the extent that such Impositions
would be payable if the Leased Property were the only property of Landlord subject to such
Impositions, and Tenant shall pay and discharge the same as herein provided in respect of the
payment of Impositions. There shall be excluded from Impositions all federal, state and local net
income tax, federal excess profit taxes, transfer, franchise, capital stock and federal or state estate
or inheritance taxes of Landlord.

            Section 5.4   Estimates of Impositions

        Tenant’s Share of Impositions for each calendar year during which any portion of the
Term (following the Possession Date) falls shall be reasonably estimated by Landlord and shall
be based upon the most recently ascertainable assessment and tax rate levels, and written notice
of such estimate shall be given Tenant prior to the beginning of each such calendar year. Tenant
shall pay Landlord each month, at the same time as the Monthly Base Rent payment is due, an
amount equal to one-twelfth (1/12) of said annual estimate of Tenant’s Share of Impositions. In
the event Landlord’s estimate of Tenant’s Share of Impositions is not given to Tenant prior to the
beginning of any applicable calendar year, Tenant shall continue to pay to Landlord, in monthly
installments on account of Tenant’s Share of Impositions, such amount estimated on the basis of
the most current estimate by Landlord; provided, however, that on the first day of the calendar
month following the month in which Landlord notifies Tenant of any change in such estimate,
Tenant shall pay to Landlord a lump sum equal to the estimated Tenant’s Share of Impositions as
revised by Landlord minus (i) any previous monthly installments on account thereof made by
Tenant for such calendar year and (ii) any monthly installments on account thereof which are not
yet due and payable for the remainder of such calendar year. Thereafter, Tenant shall pay
Landlord monthly installments on account of Tenant’s Share of Impositions based on the new
revised estimate thereof given by Landlord. Should any of Landlord’s lenders require the
deposit of taxes or any other Impositions relating to the Leased Property for any period
beginning on or after the Possession Date, Tenant agrees to deposit with Landlord’s lender the



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amount required by such lender, and such deposit shall be credited toward the payment of
Tenant’s Share of Impositions hereunder.

            Section 5.5   Readjustments; Yearly Proration

         Landlord shall deliver to Tenant a statement showing the actual Tenant’s Share of
Impositions for each calendar year as soon as reasonably feasible after same are determined,
together with a copy of any tax bill or other evidence of the Impositions. Within thirty (30) days
after delivery of such statement, Tenant shall pay to Landlord or Landlord shall credit against the
next Rent payment or payments due from Tenant, as the case may be, the difference between the
actual Tenant’s Share of Impositions for such calendar year and the sum of the monthly
installments on account of Tenant’s Share of Impositions paid by Tenant during such calendar
year. Tenant’s obligation to pay Landlord such difference, if applicable, shall survive the
expiration or termination of this Lease. If the Possession Date commences on any day other than
the first day of January, or if the Term ends on any day other than the last day of December, the
Tenant’s Share of Impositions due Landlord for such partial calendar year shall be prorated so
that Tenant shall pay a prorata share equal to said Tenant’s Share of Impositions multiplied by a
fraction, the numerator of which is the number of days of the Term falling within such partial
calendar year and the denominator of which is three hundred sixty-five (365).

            Section 5.6   Right To Contest

        Without limiting Tenant’s obligation to pay Tenant’s Share of Impositions under this
Article 5, Tenant shall have the right, in good faith and with due diligence, to contest the amount
of Impositions or the validity thereof by appropriate legal proceedings with the proper taxing
authority or other body; provided that, pending any such legal proceedings, Tenant shall give
Landlord such security as may be deemed reasonably satisfactory to Landlord to insure payment
of the amount of all Impositions or charges and all interest and penalties thereon. If, at any time
during the continuance of such contest, the Leased Property or any part thereof is, in the
reasonable judgment of Landlord, in imminent danger of being forfeited or lost, Landlord may
use such security, together with Tenant’s monthly installments in account of Tenant’s Share of
Impositions, for the payment of such Imposition. Tenant shall notify Landlord of its intent to
contest Impositions prior to initiating any such legal proceedings.

            Section 5.7   Representations and Warranties

       Tenant agrees and acknowledges that Landlord has made no representation, warranty or
guaranty relating to the amount of the Impositions. Tenant has had an opportunity to consult
with Landlord with respect to the Impositions projected for the operation of the Leased Property
but has not relied upon any statements or representations of Landlord or any agent or affiliate of
Landlord in regard thereto in executing this Lease and agreeing to perform the terms and
covenants hereof and shall make no claims against Landlord based thereon.

                                         ARTICLE 6
                                  USE OF LEASED PROPERTY

      Tenant shall use and occupy the Leased Property for purposes of operation of a hotel
(which shall include short-term rentals to guests as well as transient stays) with additional

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commercial space, together with ancillary facilities thereto, and for incidental uses thereto and
for no other use or purpose. Tenant covenants and agrees to use and occupy the Leased Property
in conformity with all federal, state and municipal statutes, laws, rules, ordinances, regulations
and orders. Tenant shall not use any Hazardous Materials, nor shall Tenant create any offensive
or toxic emissions or effluents to emanate from the Leased Property, except to the extent
reasonable or appropriate in connection with the lawful use of the Leased Property in the
ordinary course of Tenant’s business, and Tenant shall comply with all legal requirements in
connection with such use. At all times during the Term, Tenant shall cause all of the Leased
Property to remain in compliance with all legal requirements and, to the extent that Tenant
should fail to do so beyond any applicable grace or cure period permitted by the appropriate
authority, Landlord shall have the right to take all actions required or necessary to bring the
Leased Property into compliance with all legal requirements, and all sums paid by Landlord,
including, without limitation, any legal fees and disbursements, incurred by Landlord as a result
of Tenant’s failure shall constitute Additional Rent. The commercial space and a parking facility
for the hotel will be constructed by Landlord by no later than December 1, 2016. In addition,
Landlord intends to construct a new building on property owned by Landlord located adjacent to
the Leased Property, which building is anticipated to contain 25 additional guestrooms and
related public hotel space. Landlord and Tenant agree to negotiate the terms and conditions of
the use, occupancy, and management of the commercial space, the parking facility, and the new
building in good faith prior to completion of the build out of that space.

                                      ARTICLE 7
                               UTILITIES AND SERVICES;
                      OPERATING EXPENSES; FINANCING DOCUMENTS

            Section 7.1   Utilities and Services

        Tenant shall purchase all utility services for the Leased Property, including, but not
limited to, fuel, water, sewerage and electricity, from the utility or municipality providing such
service, and shall pay for such services when such payments are due. Except in the case of
willful actions or omissions of Landlord causing interruption of utility services, Landlord will
not be liable to Tenant for any interruption in the provision of utility services to the Leased
Property, nor will any interruption be construed as an eviction of Tenant or entitle Tenant to
abatement of Rent.

            Section 7.2   Regulations Regarding Utilities and Services

        (a)     Tenant agrees to cooperate fully, at all times, with Landlord in abiding by all
reasonable regulations and requirements which Landlord may prescribe for the proper
functioning and protection of all utilities and services reasonably necessary for the operation of
the Leased Property. Throughout the Term of this Lease, Landlord and its contractors shall have
reasonable access after reasonable advance notice and in such manner as will minimize
interference with the use and occupancy of the Leased Property to any and all mechanical
installations, and Tenant agrees that there shall be no construction of partitions or other
obstructions which might interfere with access to or the moving of servicing equipment to or
from the enclosures containing said installations. Tenant further agrees that neither Tenant nor



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its agents, licensees, invitees or contractors shall at any time tamper with, adjust or otherwise in
any manner affect Landlord’s mechanical installations.

       (b)     Nothing contained herein shall be deemed to impose any duty or obligation on
Landlord to maintain or repair such mechanical installations. Tenant shall be solely responsible
for and shall maintain all such mechanical installations and shall repair and replace such items at
Tenant’s sole cost and expense.

            Section 7.3    Operating Expenses

       Without limitation of any other provision herein and except as otherwise herein specified,
from and after the Possession Date, Tenant shall pay all expenses of operation of the Leased
Property including, without limitation, all utility charges, insurance premiums, operating
charges, maintenance and repair charges, construction costs, costs for replacements and other
charges, and all other charges, whether or not contemplated under this Lease. It is specifically
acknowledged and agreed that Tenant shall be responsible for paying all amounts payable to the
Hotel Manager under the Hotel Management Agreement.

            Section 7.3    Debt Service

        Nothing contained herein shall obligate Tenant to pay any principal, interest, prepayment
premiums or other amounts in connection with any loans of Landlord relating to the Leased
Property, it being acknowledged that at all times the responsibility for payment of such loans (or
any replacements, accretions or additions to such loans) shall remain the responsibility of
Landlord. In the event of the failure by Landlord to pay any such debt-related payments within
any applicable grace or cure period under any loan documents, Tenant shall have the right to pay
such amounts on behalf of Landlord and Landlord shall be obligated to reimburse Tenant for the
costs thereof and, in addition, Tenant shall have the right to set off against the next Rent payable
hereunder such amounts as are advanced by Tenant on behalf of Landlord hereunder, together
with interest from the date advanced until paid or set-off at the annual rate of one percent (1%) in
excess of the Designated Prime Rate.

                                           ARTICLE 8

                          CONDITION AND CARE OF LEASED PROPERTY

            Section 8.1    Possession.

        (a)     The Building comprising a portion of the Leased Property is a “certified historic
structure” within the meaning of Section 47 of the Code. Landlord is rehabilitating the Building
in a manner intended to qualify for the Historic Tax Credit and has agreed in the HTC Pass-
Through Agreement to pass the Historic Tax Credit through to Tenant in accordance with the
provisions of Section 50(d) of the Code. The nature and scope of such rehabilitation work is
more specifically described on Exhibit D attached hereto. The aforesaid work is sometimes
herein referred to as “Landlord’s Work.” Landlord agrees to cause such work to be
substantially completed in a good and workmanlike manner conforming to all applicable law on
or prior to December 31, 2014, in a lien-free manner. The parties agree, however, that Landlord
shall be entitled to contest any liens filed against the Premise in a manner permitted under the

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laws of the State of California. Other than as herein provided, Tenant acknowledges that no
promises have been made by Landlord to alter, remodel, improve, repair, decorate or clean the
Leased Property or any part thereof. Tenant’s taking possession of the Leased Property or any
portion thereof, unless Tenant shall notify Landlord within twelve (12) months thereafter of any
defective or incomplete work (in which event Landlord shall promptly remedy such work), shall
be conclusive evidence against Tenant that the portion of the Leased Property taken possession
of, including any portion of Landlord’s Work therein, was then in good order and satisfactory
condition.

       (b)     Tenant grants to Landlord, Landlord’s construction managers, contractors,
subcontractors, materialmen and other parties the right to enter the Building and the other
portions of the Leased Property as necessary to complete any punch-list items related to
Landlord’s Work. Tenant shall be named as an additional insured on all insurance policies
provided by such construction managers, contractors, subcontractors and other parties which
name Landlord as an additional insured.

        (c)     All material building, zoning, health, safety, business and other applicable permits
necessary to permit the rehabilitation, use, occupancy and operation of the Leased Property have
been or will, at the time required, be obtained and maintained (other than, prior to completion of
the rehabilitation or a specified portion thereof, such as are issuable only on the completion of
the rehabilitation or such specified portion thereof); and Landlord has not received any notice nor
does Landlord have any knowledge of any violation with respect to the Leased Property of any
law, rule, regulation, order or decree of any Governmental Authority having jurisdiction which
would have a material adverse effect on the Leased Property or the construction, use or
occupancy thereof, except for violations which have been cured and notices or citations which
have been withdrawn or set aside by the issuing agency or by an order of a court of competent
jurisdiction.

        (d)     Landlord has a good and marketable fee simple interest in the Leased Property,
free and clear of any liens, charges or encumbrances other than matters set forth in a title policy
and encumbrances that Landlord is permitted to create under the terms of this Lease. Landlord is
not in default in any material respect in the observance or performance of any provision of the
Lease or any document related to its rehabilitation of the Leased Property to be observed or
performed by Landlord.

       (e)     Landlord is not in default in any material respect in the observance or
performance of any provision of the Lease or any document related to its rehabilitation to be
observed or performed by Landlord. To the best knowledge of Landlord, the Leased Property
has no material design, maintenance or construction defects.

       (f)     Except for the matter brought against Landlord under the California
Environmental Quality Act, concerning the City of Pasadena’s issuance of permits with respect
to the rehabilitation of the Leased Property, no litigation, demand, investigation, claim or
proceeding against Landlord or any litigation or proceeding directly affecting the Leased
Property is pending or, to the best knowledge of Landlord, is threatened, before any court,
administrative agency or other Governmental Authority.



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            Section 8.2    Tenant Obligations

        (a)    At its sole cost and expense throughout the Term following the Possession Date,
Tenant shall (i) take good care of the Leased Property; (ii) keep the same in good order and
condition; and (iii) make and perform all maintenance thereof and all necessary repairs thereto,
interior and exterior, structural and nonstructural, ordinary and extraordinary, foreseen and
unforeseen, of every nature, kind and description, including, without limitation, any maintenance
required under any loan documents that may be executed by Landlord or required of the landlord
under the Commercial Leases. When used in this Section, the term “repairs” shall include all
necessary replacements, renewals, alterations, additions and betterments. All repairs made by
Tenant shall be at least equal in quality and cost to the original improvements and shall be made
by Tenant in accordance with all laws, ordinances and regulations whether heretofore or
hereafter enacted. The necessity for or adequacy of maintenance and repairs shall be measured
by the standards that are appropriate for improvements of similar construction and class,
provided that Tenant shall in any event make all repairs reasonably necessary to avoid any
structural damage or other damage or injury to the Improvements.

        (b)    Notwithstanding the provisions of Section 8.2(a) above, any repairs that are
capital expenditures under the Code and which are made during the last three (3) years of the
Term shall not be required to be made, unless Landlord and Tenant agree to an allocation of the
costs thereof. If the parties cannot so agree, Landlord shall have the right to cause such repairs to
be made and the cost thereof shall be amortized over the useful life thereof, as determined and in
accordance with the Code, and Tenant shall pay as Additional Rent its share of the costs thereof
relating to the remainder of the Term. Tenant shall be entitled to the tax benefits (including
depreciation) attributable to repairs or capital expenditures made by it hereunder.

        (c)     Landlord shall not be required to furnish any services or facilities or to make any
repairs or alterations in, about or to the Leased Property or any improvements hereafter erected
thereon. Tenant hereby assumes the full and sole responsibility for the condition, operation,
repair, replacement, maintenance and management of the Leased Property hereafter erected
thereon.

        (d)     Tenant shall not do or suffer any waste or damage, disfigurement or injury to the
Leased Property, or to the fixtures or equipment therein, or permit or suffer any overloading of
the floors or other use of the improvements that would place an undue stress on the same or any
portion thereof beyond that for which the same was designed.

            Section 8.3    Compliance With Rules and Regulations; Compliance with
                           Covenants.

            Tenant shall at its sole cost and expense:

       (a)      Comply with (i) all federal, state, county, municipal and other governmental and
quasigovernmental statutes, laws, rules, orders, regulations and ordinances affecting the Leased
Property or any part thereof, or the use thereof, including compliance with the requirements of
the City of Pasadena, California, and the State of California (and any federal law to the extent
applicable) relating to the operation of the Leased Property as a hotel with additional commercial


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space, and further including those which require the making of any structural, unforeseen or
extraordinary changes (except such changes in the nature of capital expenditures as are described
in Section 8.2(b) above, which shall be made in accordance with the provisions of such Section),
whether or not any such statutes, laws, rules, orders, regulations or ordinances which may be
hereafter enacted involve a change of policy on the part of the governmental body enacting the
same, and (ii) all rules, orders and regulations of the National Board of Fire Underwriters or
other bodies exercising similar functions in connection with the prevention of fire or the
correction of hazardous conditions, which apply to the Leased Property; provided, however, that
Tenant shall not be obligated to comply or cause the Leased Property to comply with any of the
foregoing unless Tenant’s use of the Leased Property shall cause a violation of clauses (i) or (ii)
above. Tenant shall comply with the requirements of all policies of public liability, fire and
other insurance which at any time may be in force with respect to the Leased Property.

       (b)     Comply with the requirements (the “Covenants”) of the Hotel Management
Agreement, the Commercial Leases and the Operating Contracts, in each case to the extent
applicable to Tenant, certain of which shall be assigned to and assumed by Tenant concurrently
with the execution of this Lease or as soon thereafter as is practicable. In the event of its failure
to do so (without limitation of any other rights or remedies of Landlord hereunder), Landlord
may, if such failure continues beyond the applicable grace period thereunder, pay such amounts
or perform such obligations as are necessary in order to comply therewith. The amounts
reasonably expended by Landlord on account thereof shall constitute Additional Rent.

            Section 8.4   Existing Equipment

        Tenant acknowledges that Tenant is accepting possession of the Leased Property
inclusive of any and all equipment, personal property, furniture, fixtures, equipment and other
moveable items (collectively, the “Existing Equipment”) currently located therein or located
therein as of the Possession Date. Landlord makes no representations or warranties, whatsoever,
as to the condition of the Existing Equipment, or as to Landlord’s title or interest with respect
thereto. In the event that the Existing Equipment is removed, whether by Tenant or any other
party, during or at the end of the Term hereof, Tenant shall be responsible for restoring any and
all damage to the Leased Property caused by such removal, at Tenant’s sole cost and expense,
and, with respect to Building Systems Equipment, as hereinafter defined, Tenant shall replace
any such equipment so removed with like equipment of equal or better quality that shall be in
good working order and of sufficient size and capacity as is required to serve the Leased
Property. Tenant shall cause such Existing Equipment to be replaced as and when necessary or
required under the Hotel Management Agreement. Further, Tenant shall indemnify Landlord
and its respective employees, agents and other representatives, from and against any and all cost,
expenses, liens, damages, or other claims resulting from Tenant’s removal of any such Existing
Equipment. As used herein, the term “Building Systems Equipment” shall mean all plumbing,
electrical, mechanical, heating, ventilating and air conditioning and life safety equipment in or
serving the Leased Property.

            Section 8.5   Tax Credits

       Except as otherwise specifically provided in the HTC Pass-Through Agreement and in
Section 8.1 or Section 8.2 hereof, Tenant expressly waives and relinquishes in favor of Landlord


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any rights to claim the benefit of or to use any federal or state investment tax credits or
depreciation benefits that are currently or may become, available during the Term as a result of
the improvements constituting part of the Leased Property, or any installation of the Existing
Equipment (excluding any FF&E purchased by Tenant) installed by Landlord on the Leased
Property whether or not such items become a part of the realty, and Tenant agrees to execute and
deliver to Landlord any election form required to evidence Landlord’s right to claim investment
tax credits or depreciation benefits on improvements made or property installed by Landlord.
Landlord and Tenant agree that Tenant shall be entitled to any investment tax credits or
depreciation attributable to improvements made or property installed by Tenant and paid for by
Tenant (including, but not limited to the initial FF&E) following the Commencement Date.

            Section 8.6   Initial FF&E

         Notwithstanding anything to the contrary herein, Landlord and Tenant agree that the
initial furniture, fixtures and equipment (“FF&E”) for the Leased Property will be provided by
Tenant, as set forth in more detail in Exhibit D hereto. No reduction in rent beyond that set forth
in Article 4 hereof shall be payable by Tenant with respect to any FF&E provided by Landlord.
Following the installation of the initial FF&E, all replacement FF&E shall be provided by Tenant
as and when needed.

                                            ARTICLE 9

                               RETURN OF LEASED PROPERTY

            Section 9.1   Surrender of Possession

        At the termination of this Lease by lapse of time or otherwise or upon termination of
Tenant’s right of possession without termination of this Lease, Tenant shall surrender possession
of the Leased Property to Landlord and deliver all keys to the Leased Property to Landlord and
make known to Landlord the combination of all locks of vaults then remaining in the Leased
Property, and shall, subject to Sections 9.2 through 9.4, return the Leased Property and all
equipment and fixtures of Landlord therein to Landlord in as good condition as when Tenant
originally took possession, ordinary wear, loss or damage by fire or other insured casualty, and
damage resulting from the act of Landlord or its employees and agents excepted, failing which
Landlord may restore the Leased Property and such equipment and fixtures to such condition and
Tenant shall pay the reasonable cost thereof to Landlord on demand.

            Section 9.2   Installations and Additions

        All installations, additions, partitions, hardware, light fixtures, nontrade fixtures and
improvements, temporary or permanent, except FF&E, trade fixtures, movable furniture and
equipment belonging to Tenant, in or upon the Leased Property, whether placed there by Tenant
or Landlord, shall be Landlord’s property and shall remain upon the Leased Property at the
termination of this Lease, all without compensation, allowance or credit to Tenant; provided,
however, that if prior to such termination or within ten (10) days thereafter Landlord so directs
by notice, Tenant, at Tenant’s sole cost and expense, shall promptly remove such of the
installations, additions, partitions, hardware, light fixtures, nontrade fixtures and improvements


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placed in the Leased Property by Tenant as are designated in such notice and repair any damage
to the Leased Property caused by such removal, failing which Landlord may remove the same
and repair the Leased Property, and Tenant shall pay the reasonable cost thereof to Landlord on
demand. Tenant may request, prior to making the installations, additions or other improvements
provided hereinabove that Landlord determine whether Tenant shall be obligated to remove such
installations, additions or other improvements (in which case Landlord shall make such
determination in a reasonable manner within five (5) days following such request); provided,
however, that Landlord shall not be precluded from exercising its right to require such removal,
notwithstanding a prior manifestation of contrary intent, if the condition of such installations,
additions or other improvements has deteriorated and constitutes in Landlord’s determination,
unreasonable wear and tear.

            Section 9.3   Trade Fixtures and Personal Property

         Tenant shall also remove Tenant’s furniture, machinery, safes, trade fixtures and other
items of movable personal property of every kind and description belonging to Tenant from the
Leased Property and restore any damage to the Leased Property caused thereby, such removal
and restoration to be performed prior to the end of the Term (whether by lapse of time or by
earlier termination of this Lease) or Tenant’s right of possession, whichever might be earlier. If
Tenant fails to remove such items, Landlord may do so and thereupon the provisions of
Section 19.6 shall apply, and Tenant shall pay to Landlord upon demand the reasonable cost of
removal and of restoring the Leased Property.

            Section 9.4   Option To Acquire FF&E

        At the termination of this Lease by lapse of time or otherwise or upon termination of
Tenant’s right of possession without termination of this Lease, Landlord or Landlord’s designee
shall have the option to purchase from Tenant the FF&E of Tenant employed in the operation of
the Hotel in the Leased Property. If the parties cannot agree within thirty (30) days of the date of
such termination to the purchase price for such FF&E, then the purchase price shall be the fair
market value as determined by a Qualified Appraiser (as defined below) selected by Tenant. All
appraisal costs shall be borne fifty percent (50%) by Tenant and fifty percent (50%) by Landlord.
As used herein, “Qualified Appraiser” means an appraiser who specializes in appraising assets
similar to the FF&E, has no less than five years’ experience in the field, is recognized as ethical
and reputable, does not have any personal or financial interest that would disqualify the appraiser
from exercising an independent and impartial judgment as to the value of the assets, has the
capability and capacity to perform appraisals on all assets to be appraised regardless of their
location, and is a member of the Appraisal Institute (or any successor association or body of
comparable standing if such institution is not then in existence), with the designation of “MAI”
(or comparable designation of such successor association).

            Section 9.5   Survival

       All obligations of Tenant under this Article 9 shall survive the expiration of the Term or
sooner termination of this Lease.




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                                            ARTICLE 10

                                         HOLDING OVER

        Tenant shall pay Landlord for each day Tenant retains possession of the Leased Property
or any part thereof after termination of this Lease, or of Tenant’s right to possession of the
Leased Property, by lapse of time or otherwise, an amount which is 150% of the amount of Rent
for a day based on the annual rate of Base Rent set forth in Section 4.1 last payable and on the
last amount of Tenant’s Share of Impositions provided for in Article 5 for the period in which
such possession occurs, calculated as though such period were within the Term, and, to the
extent enforceable by law, Tenant shall also pay all damages, consequential as well as direct,
sustained by Landlord by reason of such retention. Nothing contained in this Section shall be
construed or operate as a waiver of Landlord’s right of reentry or any other right or remedy of
Landlord. Any such holding over shall be a tenancy at sufferance.

                                            ARTICLE 11

                                   COMPLIANCE BY TENANT

         Tenant agrees, for itself, its agents, contractors, subtenants, invitees and licensees, (i) to
observe and not to interfere with the rights reserved to Landlord contained in this Lease, and
(ii) to comply with all terms and conditions set forth in any recorded easements, covenants,
conditions or restrictions pertaining to the Leased Property at the present time or, if Tenant has
consented thereto, thereafter. Any violation of the foregoing agreements may be enjoined; but,
whether or not so enjoined, Tenant acknowledges and agrees that it shall be and remain liable for
all damages, loss, costs and expenses resulting therefrom.

                                            ARTICLE 12

                              RIGHTS RESERVED TO LANDLORD

      Landlord reserves the following rights, exercisable after reasonable advance notice and in
such manner as will minimize interference with the use and occupancy of the Leased Property:

       (a)   to change the name or street address of the Leased Property (but only if requested
to do so by the U.S. postal service or the local municipality or any other Governmental
Authority);

       (b)     to retain at all times, and to use in appropriate instances, pass keys to the Leased
Property, subject to the rights of any subtenants or hotel guests;

            (c)   to exhibit the Leased Property at reasonable hours;

            (d)   to enter the Leased Property at reasonable hours for inspection; and

        (e)    to enter the Leased Property in the event of an emergency (without advance
notice) and take all steps deemed reasonably necessary by it to respond to such emergency.


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                                          ARTICLE 13

                                        MAINTENANCE

         Subject to any limitation set forth in Section 8.2 hereof, Tenant shall keep and maintain
the entire exterior and interior of the Leased Property, specifically including, without limitation,
the roof, structural components of the Leased Property, the lighting systems, and the Building
Systems Equipment in good condition and repair. Tenant specifically agrees to cause the
requirements under the Commercial Leases, the Operating Contracts and any loan documents
that may be entered into by Landlord with respect to the maintenance of the physical condition of
the Leased Property that are the obligation of Tenant thereunder to be complied with at all times,
at its sole cost and expense. Tenant shall keep the Leased Property from falling temporarily out
of repair or deteriorating. Tenant shall further keep and maintain the improvements at any time
situated upon the Leased Property and all sidewalks and areas adjacent thereto, and all
landscaped areas adjacent thereto, safe secure, clean and sanitary (including, without limitation,
snow and ice clearance, planting and replacing flowers and landscaping, and necessary interior
painting and carpet cleaning), and in full compliance with all health, safety and police
regulations in force.

                                          ARTICLE 14

                                        ALTERATIONS

            Section 14.1 Limitation

       Tenant shall not, without the prior written consent of Landlord, which shall not be
unreasonably withheld, delayed or conditioned, make any alterations, additions or improvements
to the Leased Property, other than such alterations, additions, or improvements to the Leased
Property which are cosmetic in nature or which shall cost less than $10,000.00. Any alterations,
additions or improvements which are consented to by Landlord shall continue to be subject to the
remaining terms and conditions set forth in this Article.

            Section 14.2 Procedures for Alterations, Additions or Improvements

        If Landlord consents to such alterations, additions or improvements, before
commencement of the work or delivery of any materials onto the Leased Property, Tenant shall
furnish to Landlord for approval plans and specifications, names and addresses of contractors,
copies of contracts, necessary permits and licenses, and instruments of indemnification against
any and all claims, costs, expenses, damages and liabilities which may arise in connection with
such work, all in such form, substance and amount as may be reasonably satisfactory to
Landlord. In addition, for any work which shall cost, in the aggregate, in excess of $100,000.00,
prior to commencement of any such work or delivery of any materials into the Leased Property,
Tenant shall provide Landlord with appropriate evidence of Tenant’s ability to pay for such work
and materials in full and, if requested by Landlord, shall deposit with Landlord at such time such
security for the payment of said work and materials as Landlord may require. All alterations,
additions and improvements shall be installed in a good, workmanlike manner, and only new,
high-grade materials shall be used. All such work shall be done only by contractors or


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mechanics reasonably acceptable to Landlord. Tenant further agrees to hold Landlord harmless
from any and all liabilities of every kind and description which may arise out of or be connected
in any way with said alterations, additions or improvements. Before commencing any work in
connection with such alterations, additions or improvements, Tenant shall furnish Landlord with
certificates of insurance from all contractors performing labor or furnishing materials insuring
Landlord against any and all liabilities which may arise out of or be connected in any way with
said alterations, additions or improvements. Tenant shall permit Landlord to supervise
construction operations at Landlord’s sole cost in connection with the foregoing work if
Landlord requests to do so. Tenant shall pay the cost of all such alterations, additions and
improvements and also the cost of decorating the Leased Property occasioned by such
alterations, additions and improvements, including the cost of labor and materials, contractors’
profit, overhead and general conditions. Upon completing any alterations, additions or
improvements, Tenant shall furnish Landlord with contractors’ affidavits, in form required by
law, and full and final waivers of lien and receipted bills covering all labor and materials
expended and used. All alterations, additions and improvements shall comply with all insurance
requirements and with all city and county ordinances and regulations and with the requirements
of all state and federal statutes and regulations.

                                          ARTICLE 15

                              ASSIGNMENT AND SUBLETTING

            Section 15.1 Assignment and Subletting

        Except as otherwise herein provided, Tenant shall not, without the prior written consent
of Landlord in each instance, (i) assign, transfer, mortgage, pledge, hypothecate or encumber, or
subject to or permit to exist upon or be subjected to any lien or charge, this Lease or any interest
under it; (ii) allow to exist or occur any transfer of or lien upon this Lease or Tenant’s interest
herein by operation of law; (iii) sublet the Leased Property or any part thereof; or (iv) permit the
use or occupancy of the Leased Property or any part thereof for any purpose not provided for
under Article 6 of this Lease or by anyone other than Tenant and Tenant’s and permitted
subtenants. In no event shall this Lease be assigned or assignable by voluntary or involuntary
bankruptcy proceedings or otherwise, and in no event shall this Lease or any rights or privileges
hereunder be an asset of Tenant under any bankruptcy, insolvency or reorganization proceedings.
Notwithstanding the foregoing, Landlord hereby consents to the subleasing by Tenant of space in
the commercial space (as opposed to the subleasing of the entire Leased Property) to various
tenants selected by Tenant, including but not limited to the Commercial Leases, (and to the
resubleasing of the same space to other tenants upon termination of any of such subleases or
successor subleases) provided in each case that the sublease complies with all applicable
requirements, including any consent provisions, of any of Landlord’s loan documents.

            Section 15.2 Tenant To Remain Obligated

       Consent by Landlord to any assignment, subletting, use, occupancy or transfer shall not
operate to relieve Tenant from any covenant or obligation hereunder except to the extent, if any,
expressly provided for in such consent, or be deemed to be a consent to or relieve Tenant from
obtaining Landlord’s consent to any subsequent assignment, transfer, lien, charge, subletting, use


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or occupancy. Tenant shall pay all of Landlord’s costs, charges and expenses, including
attorneys’ fees, reasonably incurred in connection with any assignment, transfer, lien, charge,
subletting, use or occupancy made or requested by Tenant. Tenant agrees that all advertising by
Tenant or on Tenant’s behalf with respect to the assignment of this Lease or subletting of space
must be approved in writing by Landlord prior to publication.

            Section 15.3 Landlord’s Consent

        Landlord will not unreasonably withhold or delay its consent to Tenant’s assignment of
this Lease or subletting the space leased hereunder wherever such consent is required hereunder.
Landlord shall not be deemed to have unreasonably withheld its consent to a sublease of all or
part of the Leased Property or an assignment of this Lease if its consent is withheld because:
(i) Tenant is then in default beyond any applicable grace period hereunder or an event of default
has occurred which, but for the giving of notice or passage of time or both, would constitute a
default by Tenant; (ii) any notice of termination of this Lease or termination of Tenant’s
possession shall have been given under Article 19 hereof; (iii) the portion of the Leased Property
which Tenant proposes to sublease, including the means of ingress to and egress from and the
proposed use thereof, or the remaining portion of the Leased Property will violate any city, state
or federal law, ordinance or regulation, including, without limitation, any applicable building
code or zoning ordinances; (iv) the proposed use of the Leased Property by the subtenant or
assignee does not conform with the uses permitted by this Lease; (v) in the reasonable judgment
of Landlord, the proposed subtenant or assignee is of a character or is engaged in a business
which would be deleterious to the reputation of the Leased Property, or the subtenant or assignee
is not sufficiently financially responsible to perform its obligations under the proposed sublease
or assignment; provided, however, that the foregoing are merely examples of reasons for which
Landlord may withhold its consent and shall not be deemed to be exclusive of any permitted
reasons for reasonably withholding consent, whether similar to or dissimilar from the foregoing
examples. Any consent by Landlord to a proposed assignment or sublease shall in any event be
subject to the terms of Section 15.1 and Section 15.2 above.

            Section 15.4 Assignee To Assume Obligations

        If Tenant shall assign this Lease as permitted herein, the assignee shall expressly assume
all of the obligations of Tenant hereunder in a written instrument reasonably satisfactory to
Landlord and furnished to Landlord not later than fifteen (15) days prior to the effective date of
the assignment. If Tenant shall sublease the Leased Property as permitted herein, Tenant shall
obtain and furnish to Landlord, not later than fifteen (15) days prior to the effective date of such
sublease and in form satisfactory to Landlord, the written agreement of such subtenant stating
that the subtenant will attorn to Landlord, at Landlord’s option and written request, in the event
this Lease terminates before the expiration of the sublease.

            Section 15.5 Change of Ownership or Control of Tenant.

        Notwithstanding anything to the contrary in this Article 15, if Tenant is a corporation,
partnership or limited liability company, and if during the Term of this Lease, Tenant
contemplates that the ownership of the shares of stock, partnership interests or membership
interests in Tenant shall be changing, such proposed change shall not constitute a proposed


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assignment of this Lease or otherwise be governed by the terms of this Article 15.
Notwithstanding the foregoing, Tenant shall advise Landlord of any such changes.

                                           ARTICLE 16

                  WAIVER OF CERTAIN CLAIMS; INDEMNITY BY TENANT

            Section 16.1 Waiver of Certain Claims; Release by Tenant

        To the extent not expressly prohibited by law, Tenant releases Landlord and its
beneficiaries, if any, and their agents, servants and employees, from and waives all claims for
damages to person or property sustained by Tenant, or by any other person, resulting directly or
indirectly from fire or other casualty, or any existing or future condition, defect, matter or thing
in or about the Leased Property, or from any equipment or appurtenance therein, or from any
accident in or about the Leased Property, or from any act or neglect of any other person,
including Landlord’s agents and employees and contractors; provided, however, that the
foregoing release shall not operate in the event of the gross negligence or willful misconduct of
Landlord’s agents, employees or contractors. This Section 16.1 shall apply especially, but not
exclusively, to damage caused by water, snow, frost, steam, excessive heat or cold, sewerage,
gas, odors or noise, or the bursting or leaking of pipes or plumbing fixtures, broken glass,
sprinkling or air conditioning devices or equipment, or flooding of basements, and shall apply
without distinction as to the person whose act or neglect was responsible for the damage and
whether the damage was due to any of the acts specifically enumerated above or from any other
thing or circumstance, whether of a like nature or of a wholly different nature.

            Section 16.2 Damage Caused by Tenant’s Neglect

       If any damage, in excess of normal wear and tear, to the Leased Property, or any
equipment or appurtenance thereon, results from any act or neglect of Tenant, its agents,
contractors, licensees or invitees, Tenant shall be liable therefor, and Landlord may at its option
following expiration of the applicable grace period repair such damage, and Tenant shall upon
demand by Landlord reimburse Landlord for all reasonable costs of repairing such damage in
excess of amounts, if any, paid to Landlord under insurance covering such damage.

            Section 16.3 Tenant Responsible for Personal Property

        All personal property on the Leased Property belonging to Tenant shall be there at the
risk of Tenant, and Landlord shall not be liable for damage thereto or theft or misappropriation
thereof, except where the same is a result of Landlord’s fraud or willful misconduct.

            Section 16.4 Indemnification

       To the extent not expressly prohibited by law, Tenant agrees to hold Landlord and its
beneficiaries, if any, and their agents, servants and employees, harmless and to indemnify each
of them against Adverse Consequences arising from injuries to all persons and damage to or theft
or misappropriation or loss of property occurring in or about the Leased Property arising from
Tenant’s occupancy of the Leased Property or the conduct of its business or from any activity,
work or thing done, permitted or suffered by Tenant in or about the Leased Property or from any

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breach or default on the part of Tenant in the performance of any covenant or agreement on the
part of Tenant to be performed pursuant to the terms of this Lease, or due to any other act or
omission of Tenant, its agents, contractors, invitees, or licensees, but only to the extent of
Landlord’s liability, if any, in excess of amounts, if any, paid to Landlord under insurance
covering such claims or liabilities. Tenant’s obligation to indemnify Landlord hereunder shall
include the duty to defend against any claims creating such Adverse Consequences and to pay
any judgments, settlements, costs, fees and expenses, including attorneys’ fees, reasonably
incurred in connection therewith. For such purpose, Tenant shall be entitled to the use of an
attorney designated by it or its insurer.

                                          ARTICLE 17

                      DAMAGE OR DESTRUCTION BY CASUALTY

        If the Leased Property shall be damaged by fire or other casualty and if such damage does
not render all or a substantial portion of the Leased Property untenantable, then Landlord shall
proceed to repair and restore the same with reasonable promptness, subject to reasonable delays
for insurance adjustments and delays caused by matters beyond Landlord’s reasonable control.
If any such damage renders all or a substantial portion of the Leased Property untenantable (a
“Substantial Casualty”), Landlord shall, with reasonable promptness after the occurrence of
such damage, estimate the length of time that will be required to substantially complete the repair
and restoration of such damage and shall by notice advise Tenant of such estimate. If it is so
estimated that the amount of time required to substantially complete the repair and restoration of
a Substantial Casualty will exceed three hundred sixty (360) days from the latter of (i) the date of
such notice or (ii) the date of collection of the insurance proceeds (the “Start Date”), then either
Landlord or Tenant shall have the right to terminate this Lease as of the date of such damage
upon giving notice to the other at any time within twenty (20) days after Landlord gives Tenant
the notice containing said estimate (it being understood that Landlord may, if it elects to do so,
also give such notice of termination together with the notice containing said estimate). Unless
this Lease is terminated as provided in the preceding sentence, Landlord shall proceed with
reasonable promptness to repair and restore the Leased Property, subject to reasonable delays for
insurance adjustments and delays caused by matters beyond Landlord’s reasonable control, and
also subject to zoning laws and building codes then in effect. Landlord shall have no liability to
Tenant, and Tenant shall not be entitled to terminate this Lease (except as hereinafter
provided) if such repairs and restoration are not in fact completed within the time period
estimated by Landlord, as aforesaid. If the Leased Property are not repaired or restored within
the time period estimated by Landlord (as the same may be extended for a period not to exceed
one hundred fifty percent (150%) of the time period estimated by Landlord, to the extent that
additional time is required on account of Landlord’s inability to timely perform as more
specifically provided in Section 30.11 below) after the Start Date , then either party may
terminate this Lease, effective as of the date of such fire or other casualty, by written notice to
the other party not later than thirty (30) days after the expiration of said period, but prior to
substantial completion of repair or restoration. Notwithstanding anything to the contrary herein
set forth, (a) Landlord shall have no duty pursuant to this Article 17 to expend for any repair or
restoration amounts in excess of insurance proceeds paid to Landlord and available for repair or
restoration (without limiting Tenant’s right to terminate this Lease as aforesaid); (b) Tenant shall
not have the right to terminate this Lease pursuant to this Article 17 if the damage or destruction

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was caused by the act or neglect of Tenant or its agents, contractors or employees; and (c) if any
such damage rendering all or a substantial portion of the Leased Property untenantable shall
occur during the last two (2) years of the Term, either party shall have the option to terminate
this Lease by giving written notice to the other within sixty (60) days after the date such damage
occurred, and, if such option is so exercised, this Lease shall terminate as of the date of such
notice.

                                             ARTICLE 18

                                      EMINENT DOMAIN

        If the Leased Property, or a substantial part thereof, shall be taken or condemned by any
competent authority for any public or quasi-public use or purpose or transferred in lieu of
condemnation, subject to the provisions of any loan documents and the rights of lenders set forth
therein, the following shall apply. The Term of this Lease shall end upon and not before the
earlier of (i) the date when the possession of the part so taken shall be required for such use or
purpose or (ii) the effective date of the taking, and (except as otherwise herein provided) without
apportionment of the award to or for the benefit of Tenant. In the event of the foregoing, Rent at
the then current rate shall be apportioned as of the date of the termination. A “substantial part”
of the Leased Property shall be deemed taken or condemned if, as Tenant may reasonably
determine, such part taken shall materially interfere with the economic utilization of the Leased
Property, taken as a whole. No money or other consideration shall be payable by Landlord to
Tenant for the right of termination, and Tenant shall have no right to share in the condemnation
award, whether for a total or partial taking, other than on account of compensation for the
unamortized value of Tenant’s leasehold improvements and on account of Tenant’s interest
hereunder in light of the below-market rental, if any, payable hereunder. In the event that the
Term of this Lease shall not be terminated as aforesaid in the event of a taking or condemnation,
Landlord shall utilize the net proceeds from condemnation for the purpose of restoring the
Leased Property to an economic whole within such a period of time as shall be reasonably
necessary under the circumstances.

                                             ARTICLE 19

                                             DEFAULT

            Section 19.1 Events of Default

      The occurrence of any one or more of the following matters constitutes a default
(“Default”) under this Lease:

       (a)    failure by Tenant to pay, within ten (10) days after notice of failure to pay on the
due date from Landlord to Tenant, Rent or any Additional Rent or other moneys required to be
paid by Tenant under this Lease or failure of Landlord to make any payment required of it
hereunder within ten (10) days after notice of failure to pay;




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       (b)    failure by either party to cure within a reasonable time after receipt of notice from
the other any Claim or hazardous condition which such party has created in violation of any
Environmental Laws or of this Lease;

        (c)     failure by either party to observe or perform any other covenant, agreement,
condition or provision of this Lease, if such failure shall continue for thirty (30) days after notice
thereof from the other party, or such longer period as is necessary for the failing party, acting
diligently, to cure, if such failure cannot reasonably be corrected within said thirty (30) day
period;

        (d)    the levy upon under writ of execution or the attachment by legal process of the
Leasehold Interest of Tenant, or the filing or creation of a lien in respect of such Leasehold
Interest, which lien shall not be released or discharged within sixty (60) days from the date of
such filing;

        (e)    Tenant abandons the Leased Property whether or not Tenant thereafter continues
to pay the Rent due under this Lease; or

            (f)   An Event of Bankruptcy occurs as to either party.

       By its execution hereof, Landlord hereby agrees to provide Tenant’s Investor Member
with written notice of any Default under the Lease, at the address set forth in Article 27 hereof,
as such address may be updated from time to time.

            Section 19.2 Rights and Remedies of Landlord upon Tenant Default

        (a)    If a Default by Tenant occurs, Landlord shall have the rights and remedies
hereinafter set forth, which shall be distinct, separate and cumulative and shall not operate to
exclude or deprive Landlord of any other right or remedy allowed it by this Lease or by law or in
equity:

                (i)    Landlord may terminate this Lease by giving to Tenant notice of
Landlord’s election to do so, in which event the Term of this Lease shall end, and all right, title
and interest of Tenant hereunder shall expire on the date stated in such notice;

              (ii)   Landlord may terminate the right of Tenant to possession of the Leased
Property without terminating this Lease by giving notice to Tenant that Tenant’s right of
possession shall end on the date stated in such notice, whereupon the right of Tenant to
possession of the Leased Property or any part thereof shall cease on the date stated in such
notice;

               (iii) Landlord may enforce the provisions of this Lease and may enforce and
protect the rights of Landlord hereunder by a suit or suits in equity or at law for the specific
performance of any covenant or agreement contained herein, or for the enforcement of any other
appropriate legal or equitable remedy, including recovery of all moneys due or to become due
from Tenant under any of the provisions of this Lease;



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               (iv)   Landlord may proceed against the Collateral under the security interest
granted to it under Section 19.8 and take any and all actions permitted to a secured party under
the laws of California, including the Uniform Commercial Code as in effect in the State of
California.

        Notwithstanding anything herein to the contrary, Landlord shall not terminate the Lease
until such time that Tenant’s Investor Member is no longer a member of Tenant.

        (b)    If a Default by Landlord occurs, Tenant shall have the rights and remedies
hereinafter set forth, which shall be distinct, separate and cumulative and shall not operate to
exclude or deprive Landlord of any other right or remedy allowed it by this Lease or by law or in
equity:

               (i)     Tenant may terminate this Lease by giving to Landlord notice of Tenant’s
election to do so, in which event the Term of this Lease shall end, and all right, title and interest
of Tenant hereunder shall expire on the date stated in such notice;

               (ii)   Tenant may enforce the provisions of this Lease and may enforce and
protect the rights of Tenant hereunder by a suit or suits in equity or at law for the specific
performance of any covenant or agreement contained herein, or for the enforcement of any other
appropriate legal or equitable remedy, including recovery of all moneys due or to become due
from Landlord under any of the provisions of this Lease;

        Notwithstanding anything herein to the contrary, Tenant may not terminate the Lease
during the period in which Tenant’s Investor Member remains as a member in Tenant.

            Section 19.3 Right To Re-enter

        If Landlord exercises either of the remedies provided for in subparagraphs (a) and (b) of
Section 19.2, Tenant shall surrender possession and vacate the Leased Property and immediately
deliver possession thereof to Landlord, and Landlord may reenter and take complete and
peaceful possession of the Leased Property, pursuant to applicable legal proceedings, full and
complete license so to do being hereby granted to Landlord, and Landlord may remove all
occupants and property therefrom, without relinquishing Landlord’s right to Rent or any other
right given to Landlord hereunder or by operation of law.

            Section 19.4 Current Damages

       If Landlord terminates the right of Tenant to possession of the Leased Property without
terminating this Lease if permitted by applicable law, Landlord shall have the right to immediate
recovery of all amounts then due hereunder. Such termination of possession shall not release
Tenant, in whole or in part, from Tenant’s obligation to pay the Rent hereunder for the full Term,
and Landlord shall have the right, from time to time, to recover from Tenant, and Tenant shall
remain liable for, all Rent and any other sums accruing as they become due under this Lease
during the period from the date of such notice of termination of possession to the stated end of
the Term. In any such case Landlord may relet the Leased Property or any part thereof for the
account of Tenant for such rent, for such time (which may be for a term extending beyond the
Term of this Lease) and upon such terms as Landlord shall reasonably determine and collect the

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rents from such reletting. Landlord shall not be required to accept any tenant offered by Tenant
or to observe any instructions given by Tenant relative to such reletting. Also, in any such case,
Landlord may make repairs, alterations and additions in or to the Leased Property and redecorate
the same to the extent reasonably deemed by Landlord necessary or desirable and, in connection
therewith, change the locks to the Leased Property, and Tenant shall upon demand pay the
reasonable cost of all the foregoing together with Landlord’s reasonable expenses of reletting.
The rents from any such reletting shall be applied first to the payment of the reasonable expenses
of reentry, redecoration, repair and alterations and the reasonable expenses of reletting, and
second to the payment of Rent herein provided to be paid by Tenant. Any excess or residue shall
operate only as an offsetting credit against the amount of Rent due and owing as the same
thereafter becomes due and payable hereunder, and the use of such offsetting credit to reduce the
amount of Rent due Landlord, if any, shall not be deemed to give Tenant any right, title or
interest in or to such excess or residue, and any such excess or residue shall belong to Landlord
solely, and in no event shall Tenant be entitled to a credit on its indebtedness to Landlord in
excess of the aggregate sum (including Base Rent and Tenant’s Share of Impositions) which
would have been paid by Tenant for the period for which the credit to Tenant is being
determined, had no Default occurred. No such reentry or repossession, repairs, alterations and
additions, or reletting shall be construed as an eviction or ouster of Tenant or as an election on
Landlord’s part to terminate this Lease, unless a written notice of such intention shall be given to
Tenant, or shall operate to release Tenant in whole or in part from any of Tenant’s obligations
hereunder, and Landlord may, at any time and from time to time, sue and recover judgment for
any deficiencies from time to time remaining after the application from time to time of the
proceeds of any such reletting.

            Section 19.5 Final Damages

        If this Lease is terminated by Landlord as provided for by subparagraph (a) of
Section 19.2, Landlord shall be entitled to recover from Tenant all Rent accrued and unpaid for
the period up to and including such termination date, as well as all other additional sums payable
by Tenant or for which Tenant is liable or in respect of which Tenant has agreed to indemnify
Landlord under any of the provisions of this Lease, which may be then owing and unpaid, and all
costs and expenses, including court costs and attorneys’ fees, reasonably incurred by Landlord in
the enforcement of its rights and remedies hereunder, and, in addition, Landlord shall be entitled
to recover as damages for loss of the bargain and not as a penalty: (i) the aggregate sum which at
the time of such termination represents the excess, if any, of the present value of the aggregate
rents which would have been payable after the termination date had this Lease not been
terminated, including, without limitation, Base Rent at the annual rate or respective annual rates
for the remainder of the Term provided for in Article 4 of this Lease or elsewhere herein, over
the then present value of the then aggregate fair rental value of the Leased Property for the
balance of the Term, such present value to be computed in each case on the basis of a per annum
discount rate equal to the default rate of interest on the termination date (as described in Section
30.8 below) from the respective dates upon which such rentals would have been payable
hereunder had this Lease not been terminated; and (ii) any damages in addition thereto, including
reasonable attorneys’ fees and court costs, which Landlord shall have sustained by reason of the
breach of any of the covenants of this Lease other than for the payment of Rent.

            Section 19.6 Removal of Personal Property

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       All property of Tenant removed from the Leased Property by Landlord pursuant to any
provisions of this Lease or of law may be handled, removed or stored by Landlord at the cost and
expense of Tenant, and Landlord shall in no event be responsible for the value, preservation or
safekeeping thereof. Tenant shall pay Landlord for all expenses reasonably incurred by Landlord
in such removal and storage charges against such property so long as the same shall be in
Landlord’s possession or under Landlord’s control. All such property not removed from the
Leased Property by Tenant on or before the end of the Term, however terminated (i.e. whether
by lapse of time or otherwise), or on or before the earlier termination of Tenant’s right of
possession of the Leased Property, shall, at Landlord’s option, be conclusively deemed to have
been conveyed by Tenant to Landlord as by bill of sale without further payment or credit by
Landlord to Tenant.

            Section 19.7 Attorneys’ Fees

        Tenant shall pay all of Landlord’s costs, charges and expenses, including court costs and
reasonable attorneys’ fees, reasonably incurred in enforcing Tenant’s obligations under this
Lease, reasonably incurred by Landlord in any action brought by Tenant in which Landlord is the
prevailing party, or reasonably incurred by Landlord in any litigation, negotiation or transaction
in which Tenant causes Landlord, without Landlord’s fault, to become involved or concerned.
Landlord shall pay all of Tenant’s costs, charges and expenses, including court costs and
attorneys’ fees reasonably incurred by Tenant in connection with the enforcement of Landlord’s
obligations under this Lease, reasonably incurred by Tenant in any action brought by Landlord in
which Tenant is the prevailing party, or reasonably incurred by Tenant in any litigation,
negotiation or transaction in which Landlord causes Tenant, without Tenant’s fault, to become
involved or concerned.

            Section 19.8 Grant of Security Interest by Tenant

        (a)     To secure its obligations under this Lease, Tenant hereby grants to Landlord a
security interest in all of Tenant’s right, title and interest in, to and under the following-described
property (the “Collateral”):

              (i)    All of Tenant’s interest (whether presently existing or hereafter acquired)
in all FF&E which is or becomes attached to, installed in, or used on or in connection with the
Leased Property;

            (ii)    Tenant’s right, title and interest to rent and other payments under any
Commercial Leases that may be executed in the future;

            (iii) Tenant’s right, title and interest in and under the Operating Contracts, the
Hotel Management Agreement, and any other contracts to the extent they may be pledged or
assigned;

               (iv)   Tenant’s revenues, incomes, proceeds, profits and other sums or benefits
paid or payable to Tenant in connection with Tenant’s operation of the Leased Property; and

                (v)     All proceeds, including insurance or condemnation proceeds, that arise out
of the sale, liquidation, or other transfer of, or damage to, condemnation of, or destruction of, or

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sale, use or enforcement of the above-described Collateral, or any proceeds thereof, including
cash proceeds.

        (b)    Tenant shall execute and deliver to Landlord, in form and substance satisfactory
to Landlord, such financing statements as Landlord may consider reasonably necessary to create,
protect and preserve Landlord’s security interest herein granted, and Landlord may cause such
statements to be recorded and filed at such times and places as may be required or permitted by
law to so create, perfect and preserve such security interest.

        (c)    The security interest granted pursuant to this Section 19.8 is a collateral security
interest only, and Tenant shall have full use of and control over the Collateral prior to the
occurrence of, and following the cure of, any Default by Tenant hereunder.

       (d)   If requested to do so by Landlord, Tenant shall enter into a separate security
agreement with Landlord to provide in greater detail the details of the security interest in the
Collateral.

            Section 19.9 Rights and Remedies of Tenant Upon Landlord Default

       (a)    In addition to any remedies expressly set forth in this Lease, upon any Default by
Landlord hereunder, Tenant shall have the right to terminate this Lease as well as all rights and
remedies allowed it by law or in equity.

       (b)    In the event that Landlord fails to apply for Part 3 Approval within 30 days of the
Possession Date, Tenant shall have the right to direct any Affiliate or member of Landlord to do
so. In the event that such other entity fails to comply with this Subsection, Tenant (and/or
Tenant’s Investor Member) is authorized, on behalf of Landlord, to take such action and file such
documents as are necessary to obtain Part 3 Approval, and Landlord hereby grants to Tenant and
Tenant’s Investor Member power of attorney coupled with an interest to execute any and all
necessary documents in connection therewith.




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                                          ARTICLE 20

                                              Financing

            Section 20.1 Existing Mortgages

        Landlord may hereafter from time to time execute and deliver one or more mortgages or
deeds of trust (hereinafter referred to as a “Mortgage”) against the Leased Property or any
interest therein. Upon request by any such mortgagee, Landlord may grant a security interest to
such mortgagee in Landlord’s interest in the Collateral in which Landlord has a security interest
pursuant to Section 19.8 as security for Landlord’s obligations under loan documents. In such
case, in the event of any foreclosure under any such security interest, Park Place Commercial,
L.P. (and no subsequent Landlord hereunder) shall be obligated to pay to Tenant any damages
suffered by Tenant as a result of such foreclosure including, without limitation, the fair market
value of all Collateral lost by Tenant in such transaction; provided, however, the amounts due
Tenant under this paragraph shall be offset by any amounts owed by Tenant to Landlord as a
result of any Default by Tenant under this Lease.

            Section 20.2 Liability of Holder of Mortgage; Attornment

        It is further agreed that (i) if any Mortgage shall be foreclosed, (A) the holder of the
Mortgage, ground lessor (or their respective grantees) or purchaser at any foreclosure sale (or
grantee in a deed in lieu of foreclosure), as the case may be, shall not be (x) liable for any act or
omission of any prior landlord (including Landlord), (y) subject to any offsets or counterclaims
which Tenant may have against a prior landlord (including Landlord), or (z) bound by any
prepayment of Rent that Tenant may have made in excess of the amounts then due for the next
succeeding month; (B) the liability of the mortgagee hereunder or the purchaser at such
foreclosure sale or the liability of a subsequent owner designated as Landlord under this Lease
shall exist only so long as such mortgagee, purchaser or owner is the owner of the Leased
Property, and such liability shall not continue or survive with respect to claims accruing after
further transfer of ownership; and (C) upon request of the mortgagee, if the Mortgage shall be
foreclosed, Tenant will attorn, as Tenant under this Lease, to the purchaser at any foreclosure
sale under any Mortgage, and Tenant will execute such instruments as may be necessary or
appropriate to evidence such attornment; and (ii) this Lease may not be modified or amended so
as to reduce the Rent or shorten the Term provided hereunder or increase Landlord’s obligations
or decrease Tenant’s obligations or so as to adversely affect in any other respect to any material
extent the rights of Landlord and obligations of Tenant, nor shall this Lease be cancelled or
surrendered, without the prior written consent, in each instance, of the mortgagee under any
Mortgage.

            Section 20.3 Short Form Lease or Notice of Lease

       Should any prospective mortgagee require execution of a short form or memorandum or
notice of lease for recording (containing the names of the parties, a description of the Leased
Property and the Term of this Lease) or a certification from Tenant concerning this Lease in such
form as may be reasonably required by a prospective mortgagee, Tenant agrees to promptly
execute such short form of lease or certificate and deliver the same to Landlord within ten


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(10) days following the request therefor, whereupon Landlord shall join in the execution of such
short form lease and arrange for the recordation thereof. In addition, at the request of Landlord
or Tenant, the parties shall execute a short form of lease or notice of lease for recording
containing the names of the parties, a description of the Leased Property and the Term of this
Lease.

            Section 20.4 Tenant Protections

        With respect to any Mortgage to which Tenant’s interest under this Lease shall be
subordinate, Landlord shall cause the mortgagee thereunder and its successors and assigns to
agree to recognize and not disturb the interest of Tenant in the event of a default by Landlord
under said Mortgage. Notwithstanding the foregoing, Landlord shall agree to cause any notice of
default under such Mortgage for the financing related thereto to be promptly given to Tenant and
Landlord shall agree to cause Tenant to have a right to cure any default by Landlord under said
Mortgage.

            Section 20.5 Limitation on Landlord’s Rights To Refinance

        Within the limitations set forth below, and provided Landlord provides documentation to
Tenant’s Investor Member that any such refinancing complies with the limitations set forth
below, Landlord shall be free to encumber the Leased Property with any amount of mortgage
indebtedness so long as (i) total mortgage debt of which the Leased Property is subject is less
than seventy percent (70%) of fair market value of the Leased Property at the time such debt is
incurred or on an as completed or rent stabilized basis if the mortgage lender uses such concepts
in determining the amount of the mortgage indebtedness and (ii) Landlord is able to maintain a
1.25 debt service coverage ratio with the refinancing (“Qualified Mortgage Debt”), provided (a)
Landlord provides documentation for review by Tenant’s Investor Member to ensure that any
such refinancing complies with the limitations set forth above and (b) each lender providing such
mortgage indebtedness enters into a subordination, nondisturbance and attornment agreement
with Tenant in a form satisfactory to Tenant’s Investor Member. Landlord shall not encumber
the Leased Property with mortgage debt in excess of the Qualified Mortgage Debt without
Tenant’s prior written consent evidenced by a writing signed by all Members of Tenant. No
adjustments shall be made to the Rent payable under this Lease as a result of any increased debt
service costs incurred by Landlord. Landlord shall not refinance in a manner which would
reduce the credit base by reason of the at-risk rules under Section 49 of the Internal Revenue
Code or cause recapture of Historic Tax Credits. Landlord shall pay legal expenses incurred by
Tenant’s Investor Member which are incurred in connection with a refinancing of the Leased
Property by Landlord.

                                          ARTICLE 21

                                 MORTGAGEE PROTECTION

       Tenant agrees to give any holder of any Mortgage (as defined in Section 20.1
hereof) against the Leased Property, or any interest therein, by registered or certified mail, a copy
of any notice or claim of Default served upon Landlord by Tenant, provided that prior to such
notice Tenant has been notified in writing (by way of service on Tenant of a copy of an


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assignment of Landlord’s interests in leases, or otherwise) of the address of such Mortgage
holder. Tenant further agrees that if Landlord shall have failed to cure such Default within
twenty (20) days after such notice to Landlord (or if such Default cannot be cured or corrected
within that time, then such additional time as may be necessary if Landlord has commenced
within such twenty (20) days and is diligently pursuing the remedies or steps necessary to cure or
correct such Default), then the holder of the Mortgage shall have an additional thirty (30) days
within which to cure or correct such Default (or if such Default cannot be cured or corrected
within that time, then such additional time as may be necessary if such holder of the Mortgage
has commenced within such thirty (30) days and is diligently pursuing the remedies or steps
necessary to cure or correct such Default, including the time necessary to obtain possession if
possession is necessary to cure or correct such Default).

                                          ARTICLE 22

                                  ESTOPPEL CERTIFICATE

        Tenant agrees that, from time to time upon not less than ten (10) days’ prior request by
Landlord or the holder of any Mortgage or any ground lessor, Tenant (or any permitted assignee,
subtenant, licensee, concessionaire or other occupant of the Leased Property claiming by,
through or under Tenant) will deliver to Landlord, or to the holder of any Mortgage or any
ground lessor, a statement in writing signed by Tenant certifying (i) that this Lease is unmodified
and in full force and effect (or if there have been modifications, that this Lease as modified is in
full force and effect and identifying the modifications); (ii) the date upon which Tenant began
paying Rent and the dates to which the Rent and other charges have been paid; (iii) that Landlord
is not in Default under any provision of this Lease, or, if in Default, the nature thereof in detail;
(iv) that (if applicable) the Leased Property have been completed in accordance with the terms
hereof and Tenant is in occupancy and paying Rent on a current basis with no rental offsets or
claims; (v) that there has been no prepayment of Rent other than that provided for in this Lease;
(vi) that there are no actions, whether voluntary or otherwise, pending against Tenant under the
bankruptcy laws of the United States or any state thereof; and (vii) such other matters as may be
required by Landlord, the holder of the Mortgage or any ground lessor. Landlord shall provide a
statement of like tenor if and as requested by Tenant.

                                          ARTICLE 23

                              SUBROGATION AND INSURANCE

            Section 23.1 Waiver of Subrogation

        Landlord and Tenant agree to have all fire and extended coverage and other property
damage insurance which may be carried by either of them endorsed with a clause (if
commercially available) providing that any release from liability of, or waiver of claim for,
recovery from the other party entered into in writing by the insured thereunder prior to any loss
or damage shall not affect the validity of said policy or the right of the insured to recover
thereunder and providing further that the insurer waives all rights of subrogation which such
insurer might have against the other party. Without limiting any release or waiver of liability or
recovery set forth elsewhere in this Lease, and notwithstanding anything in this Lease which may


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appear to be to the contrary, each of the parties hereto waives all claims for recovery from the
other party for any loss or damage to any of its property insured under valid and collectible
insurance policies to the extent of any recovery collectible under such insurance policies.
Notwithstanding the foregoing or anything contained in this Lease to the contrary, any release or
any waiver of claims shall not be operative, nor shall the foregoing endorsements be required, in
any case where the effect of such release or waiver is to invalidate insurance coverage or
invalidate the right of the insured to recover thereunder or to increase the cost thereof (provided
that in the case of increased cost the other party shall have the right, within ten (10) days
following written notice, to pay such increased cost keeping such release or waiver in full force
and effect).

            Section 23.2 Tenant’s Insurance

       (a)     From and after the Possession Date, Tenant shall procure and maintain policies of
insurance, including, without limitation, liability, casualty and rental interruption insurance for
the Leased Property, at its sole cost and expense, during the entire Term hereof with terms and
coverages and companies reasonably satisfactory to Landlord and with such increases in limits as
Landlord may from time to time reasonably request, including all insurance required under any
loan documents entered into by Landlord and/or under the Hotel Management Agreement the
Commercial Leases or the Operating Contracts. Alternatively, Landlord may cause such policies
to be procured and maintained, and Tenant shall reimburse Landlord for the cost thereof, upon
demand. If Landlord provides policies of insurance, such policies shall be all risk coverage
exclusive of footings and foundation.

         (b)    All policies of insurance required hereunder which insure against loss or damage
to the Leased Property shall provide that the proceeds thereof (or so much of such proceeds as
pertain to loss or damage to the Leased Property) shall be payable to Landlord, and if Landlord
so requests, shall also be payable to any contract purchaser of the Leased Property and any
holder of a Mortgage, as the interest of such purchaser or holder of a Mortgage appears pursuant
to a standard additional insured or mortgagee clause. Tenant shall not, on Tenant’s own
initiative or pursuant to request or requirement of any third party, take out separate insurance
concurrent in form or contributing in the event of loss with that required hereunder, unless
Landlord is included therein as an additional insured with loss payable as in this Section
provided Tenant shall immediately notify Landlord whenever any such separate insurance is
taken out and shall deliver to Landlord duplicate originals thereof or original certificates
evidencing the same with true copies of such insurance policies attached. All such policies of
insurance shall provide that any loss shall be payable to Landlord notwithstanding any act or
omission of Tenant which might otherwise result in a forfeiture or reduction of such insurance.

            Section 23.3 Certificates of Insurance

         Prior to the commencement of the Term (unless Landlord has elected to procure the
policies of insurance as provided above), Tenant shall furnish to Landlord policies or certificates
evidencing such coverage, which policies or certificates shall state that such insurance coverage
may not be reduced, cancelled or not renewed without at least thirty (30) days’ prior written
notice to Landlord and Tenant (unless such cancellation is due to nonpayment of premium, and,
in that case, only ten (10) days’ prior written notice shall be sufficient).


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                                          ARTICLE 24

                                         NONWAIVER

        No waiver of any condition expressed in this Lease shall be implied by any failure of
either party to enforce any remedy on account of the violation of such condition whether or not
such violation be continued or repeated subsequently, and no express waiver shall affect any
condition other than the one specified in such waiver and that one only for the time and in the
manner specifically stated. Without limiting Landlord’s rights under Article 10, it is agreed that
no receipt of monies by Landlord from Tenant after the termination in any way of the Term or of
Tenant’s right of possession hereunder or after the giving of any notice shall reinstate, continue
or extend the Term or affect any notice given to Tenant prior to the receipt of such monies. It is
also agreed that after the service of notice or the commencement of a suit or after final judgment
for possession of the Leased Property, Landlord may receive and collect any monies due, and the
payment of said monies shall not waive or affect said notice, suit or judgment.

                                          ARTICLE 25

                       AUTHORITY OF TENANT AND LANDLORD

        (a)    Tenant is a limited liability company and Tenant represents and warrants that all
of the Persons who are managers or managing members in such limited liability company have
executed this Lease on behalf of Tenant, or that this Lease has been executed and delivered
pursuant to and in conformity with a valid and effective authorization therefor by all of the
managers or managing members of such company and is and constitutes the valid and binding
agreement of the company enforceable in accordance with its terms.

        (b)     Landlord is a duly organized limited partnership validly existing under the laws of
the State of California and has full power and authority to perform its obligations under the this
Lease and all other documents related to the ownership and operation of the Leased Property to
which it is a party. The execution and delivery of this Lease and the performance of all acts
heretofore or hereafter made or taken or to be made or taken, pertaining to Tenant or the Leased
Property by Landlord have been or will be duly authorized by all necessary corporate or other
action, and the consummation of any such transactions with or on behalf of Tenant will not
constitute a breach or violation of, or a default under, the charter or by-laws or other governing
documents of Landlord or any agreement by which Landlord or any of its properties is bound,
nor constitute a violation of any law, administrative regulation or court decree.

                                          ARTICLE 26

                                  REAL ESTATE BROKERS

       Each party represents that it has not dealt with any broker in connection with this Lease,
and agrees to indemnify and hold the other harmless from all Adverse Consequences arising
from any claims or demands of any broker or brokers or finders for any commission alleged to
be due such broker or brokers or finders in connection with its having introduced such party to
the Leased Property or dealing with such party in the negotiation of this Lease.


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                                             ARTICLE 27

                                               NOTICES

        All notices and demands or requests required or desired to be given by either party to the
other with respect to this Lease or the Leased Property shall be in writing and shall be sent by
overnight courier service, prepaid, or sent by United States registered or certified mail, return
receipt requested, postage prepaid, and addressed as herein provided. Notices to or demands
upon Tenant shall be addressed to Park Place Master Tenant LLC, Singpoli Corporate Center, 25
E. Foothill Boulevard, 2nd Floor, Arcadia, CA 91006, Attention: William Cho with copies to
East West Bancorp., Inc., 135 North Los Robles Avenue, 7th Floor, Pasadena, California 91101,
Attention: Keith Kishiyama (Email: Keith.Kishiyama@eastwestbank.com), and, Bryan Cave
LLP, 1155 F Street NW, Washington, D.C. 20004, Attention: Jerome A. Breed, Esq. Notices to
or demands upon Landlord shall be addressed to Park Place Commercial, L.P. at Signpoli
Corporate Center with a copy to Philip Kim, Esq. Singpoli Corporate Center, 25 E. Foothill
Boulevard, 2nd Floor, Arcadia, CA 91006. A copy of any notice sent by Tenant to Landlord or
by Landlord to Tenant shall also be forwarded to Tenant’s Investor Member and its counsel at
the address noted above. Notice demands shall be deemed given and served (i) upon receipt of
or refusal to accept any such notice or demand, or (ii) one (1) business day after the deposit of
any such notice or demand with an overnight courier service. Either party may change its
address for receipt of notices by giving notice of such change to the other party in accordance
herewith. Notices and demands from Landlord to Tenant may be signed by Landlord, its general
partner, or its duly authorized agent.

                                             ARTICLE 28

                                    HAZARDOUS SUBSTANCES

            Section 28.1 Defined Terms.

            As used in this Lease, the following terms shall have the meanings set forth below:

         (a)    “Claim” shall mean and include any demand, cause of action, proceeding or suit
(i) for damages (actual or punitive), losses, injuries to person or property, damages to natural
resources, fines, penalties, interest, contribution or settlement, (ii) for the costs of site
investigations, feasibility studies, information requests, health or risk assessments or Response
actions, and (iii) for enforcing insurance, contribution or indemnification agreements.

        (b)    “Environmental Laws” shall mean and include all existing and future federal,
state and local statutes, ordinances, regulations and rules relating to environmental quality,
health, safety, contamination and cleanup, including, without limitation, the Clean Air Act,
42 U.S.C. Section 7401 et seq.; the Clean Water Act, 33 U.S.C. Section 1251 et seq., and the
Water Quality Act of 1987; the Federal Insecticide, Fungicide, and Rodenticide Act (“FIFRA”),
7 U.S.C. Section 136 et seq.; the Marine Protection, Research, and Sanctuaries Act, 33 U.S.C.
Section 1401 et seq.; the National Environmental Policy Act, 42 U.S.C. Section 4321 et seq.; the
Noise Control Act, 42 U.S.C. Section 4901 et seq.; the Occupational Safety and Health Act, 29
U.S.C. Section 651 et seq.; the Resource Conservation and Recovery Act (“RCRA”), 42 U.S.C.


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Section 6901 et seq., as amended by the Hazardous and Solid Waste Amendments of 1984; the
Safe Drinking Water Act, 42 U.S.C. Section 300f et seq.; the Comprehensive Environmental
Response, Compensation and Liability Act (“CERCLA”), 42 U.S.C. Section 9601 et seq., as
amended by the Superfund Amendments and Reauthorization Act, the Emergency Planning and
Community Right to Know Act, and the Radon Gas and Indoor Air Quality Research Act; the
Toxic Substances Control Act (“TSCA”), 15 U.S.C. Section 2601 et seq.; the Atomic Energy
Act, 42 U.S.C. Section 2011 et seq., the Nuclear Waste Policy Act of 1982, 42 U.S.C. Section
10101 et seq. and the Hazardous Materials Transportation Act, 49 U.S.C. Section 1801 et seq;
and state superlien and environmental cleanup statutes, with implementing regulations and
guidelines. Environmental Laws shall also include all existing and future state, regional, county,
municipal and other local laws, regulations and ordinances insofar as they are equivalent or
similar to the federal laws recited above or purport to regulate Hazardous Materials.

        (c)     “Hazardous Materials” shall mean and include the following, including mixtures
thereof: any hazardous substance, pollutant, contaminant, waste, byproduct or constituent
regulated under any Environmental Laws; oil and petroleum products and natural gas, natural gas
liquids, liquefied natural gas and synthetic gas usable for fuel; pesticides regulated under the
FIFRA; asbestos and/or any material which contains any hydrated mineral silicate, including but
not limited to chrysolite, amosite, crocidolite, tremolite, anthophylite, and/or actinolite, whether
friable or non-friable, lead-based paint, PCBs and other substances regulated under the TSCA;
source material, special nuclear material, byproduct material and any other radioactive materials
or radioactive wastes, however produced, regulated under the Atomic Energy Act or the Nuclear
Waste Policy Act; chemicals subject to the OSHA Hazard Communication Standard, 29 C.F.R.
§ 1910.1200 et seq.; and industrial process and pollution control wastes, whether or not
hazardous within the meaning of RCRA, together with any and all other hazardous or toxic
materials regulated from time to time under any other Environmental Laws.

       (d)     “Manage” or “Management” means to generate, manufacture, process, treat,
store, use, reuse, refine, recycle, reclaim, blend or burn for energy recovery, incinerate,
accumulate speculatively, transport, transfer, dispose of or abandon Hazardous Materials.

       (e)   “Release” or “Released” shall mean any actual or threatened spilling, leaking,
pumping, pouring, emitting, emptying, discharging, injecting, escaping, leaching, dumping or
disposing of Hazardous Materials into the environment, as “environment” is defined in
CERCLA.

        (f)     “Response” or “Respond” shall mean action taken in compliance with
Environmental Laws to correct, remove, remediate, cleanup, prevent, mitigate, monitor, evaluate,
investigate, assess or abate the Release of a Hazardous Material.

            Section 28.2 Tenant’s Obligations with Respect to Environmental Matters

       During the Term of this Lease: (i) Tenant shall at its own cost comply with all
Environmental Laws; (ii) Tenant shall not conduct or authorize the Management of any
Hazardous Materials on the Leased Property, including installation of any underground storage
tanks, without prior written disclosure to and approval by Landlord, provided, however, that the
use by Tenant of cleaning products and other materials used in the ordinary course of the


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operation of the Leased Property shall be deemed disclosed to and approved by Landlord, as long
as such use is not in violation of any Environmental Laws; (iii) Tenant shall not take or permit
any action that would subject the Leased Property to permit requirements under RCRA or any
other Environmental Laws for storage, treatment or disposal of Hazardous Materials; (iv) Tenant
shall not dispose of or permit the disposal of Hazardous Materials in dumpsters (if any) provided
by Landlord for Tenant use; (v) Tenant shall not discharge or permit the discharge of Hazardous
Materials into drains or sewers; (vi) Tenant shall not cause or allow the Release of any
Hazardous Materials on, to or from the Leased Property; and (vii) Tenant shall at its own cost
arrange for the lawful transportation and offsite disposal of all Hazardous Materials that is
generated by the operation of the Leased Property.

            Section 28.3 Copies of Notices

        During the term of this Lease, Tenant shall promptly provide Landlord with copies of all
summons, citations, directives, information inquiries or requests, notices of potential
responsibility, notices of violation or deficiency, orders or decrees, Claims, complaints,
investigations, judgments, letters, notices of environmental liens or Response actions in progress
and other communications, written or oral, actual or threatened, from the United States
Environmental Protection Agency, Occupational Safety and Health Administration, California
Environmental Protection Agency or other federal, state or local agency or authority, or any
other entity or individual, concerning (i) any Release of a Hazardous Material on, to or from the
Leased Property; (ii) the imposition of any lien on the Leased Property; or (iii) any alleged
violation of or responsibility under Environmental Laws. Landlord and Landlord’s agents,
contractors, beneficiaries and employees (and the agents, contractors, employees or
representatives of any such parties) shall have the right subject to the other applicable provisions
of this Lease to enter the Leased Property and conduct appropriate inspections or tests in order to
determine Tenant’s compliance with Environmental Laws.

            Section 28.4 Tests and Reports

        Upon written request by Landlord, Tenant shall provide Landlord with the results of
appropriate reports and tests, with transportation and disposal contracts for Hazardous Materials,
with any permits issued under Environmental Laws, and with any other applicable documents to
demonstrate that Tenant complies with all Environmental Laws relating to the Leased Property,
and if such reports, tests or other items reveal any failure of the Leased Property to so comply
with all Environmental Laws, then, in addition to other rights and remedies of Landlord
hereunder, Tenant shall reimburse Landlord, upon demand, for the reasonable cost of conducting
reports, tests and other investigations as necessary to demonstrate compliance with all
Environmental Laws.

            Section 28.5 Access and Inspection

        Landlord and its agents and representatives shall have access to the Leased Property and
to the books and records of Tenant (and any occupant of the Leased Property claiming by,
through or under Tenant) relating to Hazardous Materials for the purpose of ascertaining the
nature of the activities being conducted thereon and to determine the type, kind and quantity of
all products, materials and substances brought onto the Leased Property or made or produced


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thereon. Landlord and its agents and representatives shall have the right to take samples in
quantity sufficient for scientific analysis of all products, materials and substances present on the
Leased Property, including, but not limited to, samples of products, materials or substances
brought onto or made or produced on the Leased Property by Tenant or an occupant claiming by,
through or under Tenant or otherwise present on the Leased Property. And, further,
notwithstanding any provision of this Lease or applicable statutes or judicial decisions to the
contrary, with respect to any assignment, subletting, grant of license, concession or any other
permission to use the Leased Property by any Person other than Tenant, Landlord shall have the
right to withhold Landlord’s consent thereto if, the assignee, subtenant, licensee, concessionaire
or such other Person is not capable of performing or is not sufficiently qualified to perform in
accordance with the requirements of this Lease. Any assignment, sublease, license or other
permission to use the Leased Property from which Landlord withholds its consent as provided in
this Section 28.5 shall be voidable at Landlord’s sole option.

            Section 28.6 Tenant’s Obligation To Respond

         If Tenant’s Management of Hazardous Materials at the Leased Property (i) gives rise to
liability or to a Claim under any Environmental Law, (ii) causes a significant public health
effect, or (iii) creates a nuisance, Tenant shall promptly take all appropriate action in Response.

            Section 28.7 Landlord’s Obligations with respect to Environmental Matters

        As part of Landlord’s Work, Landlord shall cause the Leased Property to be in
compliance with all Environmental Laws prior to the Possession Date and, without limitation of
the foregoing, shall cause removal of all Hazardous Materials on or about the Leased Property
required to be removed under applicable Environmental Laws and all Response work with
respect to existing violation of Environmental Laws to be performed in accordance with the
recommendations contained in the Environmental Reports.

            Section 28.8 Indemnification

        (a)    Tenant shall indemnify, defend and hold harmless Landlord, its partners or
members, its beneficiaries, its lenders, any managing agents and leasing agents of the Leased
Property, and their respective beneficiaries, agents, partners, officers, directors and employees,
from all Claims (other than those arising from a breach by Landlord of its obligation under
Section 28.7) arising from or attributable to: (i) the presence of Hazardous Materials in or on the
Leased Property or the subsurface thereof or the violation of any Environmental Laws
(including, without limiting the generality thereof, any cost, Claim, liability or defense expended
in Response required by a Governmental Authority or by reason of the Release, escape, seepage,
leakage, discharge or migration of any Hazardous Material on or from the Leased Property or
violation of any Environmental Laws), or (ii) any breach by Tenant of any of its obligations,
warranties, representations or covenants in this Lease. Tenant’s obligations hereunder shall
survive the termination or expiration of this Lease.

       (b)    Landlord shall indemnify, defend and hold harmless Tenant, its partners or
members, its beneficiaries, its lenders, any managing agents and leasing agents of the Leased
Property, and their respective beneficiaries, agents, partners, officers, directors and employers,


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from all Claims arising from or attributable to any breach by Landlord of any of its
representations, warranties or covenants in Section 28.7. Landlord’s obligations hereunder shall
survive the termination or expiration of this Lease.

                                          ARTICLE 29

                           TITLE AND COVENANT AGAINST LIENS

        Landlord’s title in and to the Leased Property is and always shall be paramount to the title
of Tenant, and nothing in this Lease contained shall empower Tenant to do any act which can,
shall or may encumber the title of Landlord in and to the Leased Property. Tenant covenants and
agrees not to suffer or permit any lien of mechanics or materialmen to be placed upon or against
the Leased Property or against Tenant’s Leasehold Interest in the Leased Property and, in case of
any such lien attaching, to immediately pay and remove same. Tenant has no authority or power
to cause or permit any lien or encumbrance of any kind whatsoever, whether created by act of
Tenant, operation of law or otherwise, to attach to or be placed upon the Leased Property and
any and all liens and encumbrances created by Tenant shall attach only to Tenant’s Leasehold
Interest in the Leased Property. If any such liens so attach and Tenant fails to pay and remove or
bond over same within ten (10) days after notice thereof, Landlord, at its election, may pay and
satisfy the same, and in such event the sums so paid by Landlord shall accrue with interest from
the date of payment at the rate set forth in Section 30.8 hereof for amounts owed to Landlord by
Tenant. Such sums shall be deemed to be additional rent due and payable by Tenant at once
without notice or demand. Nothing contained in this Article 29 shall obligate Tenant to pay and
remove any lien of mechanics or materialmen imposed because of the action or inaction of
Landlord.

                                          ARTICLE 30

                                      MISCELLANEOUS

            Section 30.1 Successors and Assigns

       Each provision of this Lease shall extend to and shall bind and inure to the benefit not
only of Landlord and Tenant, but also their respective heirs, legal representatives, successors and
assigns, but this provision shall not operate to permit any transfer, assignment, mortgage,
encumbrance, lien, charge or subletting contrary to the provisions of this Lease.

            Section 30.2 Modifications in Writing

       No modification, waiver or amendment of this Lease or of any of its conditions or
provisions shall be binding upon either party unless in writing signed by such party.

            Section 30.3 No Option; Irrevocable Offer

       Submission of this instrument for examination shall not constitute a reservation of or
option for the Leased Property or in any manner bind Landlord, and no lease or obligation of
Landlord shall arise until this instrument is signed and delivered by Landlord and Tenant.


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            Section 30.4 Definition of Tenant

         The word “Tenant” whenever used herein shall be construed to mean Tenants or any one
or more of them in all cases where there is more than one Tenant; and the necessary grammatical
changes required to make the provisions hereof apply either to corporations or other
organizations, partnerships or other Entities, or individuals, shall in all cases be assumed as
though in each case fully expressed herein. In all cases where there is more than one Tenant, the
liability of each shall be joint and several.

            Section 30.5 Definition of Landlord

        The term “Landlord” as used in this Lease means only the owner or owners at the time
being of the Leased Property so that in the event of any assignment, conveyance or sale, once or
successively, of said Leased Property, or any assignment of this Lease by Landlord, said
Landlord making such sale, conveyance or assignment shall be and hereby is entirely freed and
relieved of all covenants and obligations of Landlord hereunder accruing after such sale,
conveyance or assignment, and Tenant agrees to look solely to such purchaser, grantee or
assignee with respect thereto. This Lease shall not be affected by any such assignment,
conveyance or sale, and Tenant agrees to attorn to the purchaser, grantee or assignee.

            Section 30.6 Headings

       The headings of Articles and Sections are for convenience only and do not limit, expand
or construe the contents of the Sections.

            Section 30.7 Time of Essence

            Time is of the essence of this Lease and of all provisions hereof.

            Section 30.8 Default Rate of Interest

       All amounts (including, without limitation, Rent and Additional Rent) owed by Tenant to
Landlord pursuant to any provision of this Lease and not paid within ten (10) days from the date
when due shall bear interest from the date due until paid at the annual rate of one percent (1%) in
excess of the Designated Prime Rate, unless a lesser rate shall then be the maximum rate
permissible by law with respect thereto, in which event said lesser rate shall be charged.

            Section 30.9 Severability

        The invalidity of any provision of this Lease shall not impair or affect in any manner the
validity, enforceability or effect of the rest of this Lease.

            Section 30.10 Entire Agreement

       All understandings and agreements, oral or written, heretofore made between the parties
hereto are merged in this Lease and the HTC Pass-Through Agreement, which alone fully and
completely expresses the agreements between Landlord (and its beneficiary, if any, and their
agents) and Tenant.


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            Section 30.11 Force Majeure

        If either party fails to timely perform any of the terms, covenants and conditions of this
Lease on its part to be performed (other than relating to the payment of money) and such failure
is due in whole or in part to any strike, lockout, labor trouble, civil disorder, inability to procure
materials, failure of power, restrictive governmental laws and regulations, riots, insurrections,
war, fuel shortages, accidents, casualties, acts of God, acts caused directly or indirectly by the
other party (or the other party’s agents, employees, contractors, licensees or invitees) or any
other cause beyond the reasonable control of such party, then such party shall not be deemed in
default under this Lease as a result of such failure and any time for performance by such party
provided for herein shall be extended by the period of delay resulting from such cause.

            Section 30.12 Signs

        Tenant may erect signs on the exterior or interior of the Leased Property, provided that
such sign or signs (i) do not cause any structural damage or other damage to the Leased Property;
(ii) do not violate applicable governmental laws, ordinances, rules or regulations; (iii) do not
violate any covenants, conditions or restrictions affecting the Leased Property; and (iv) are
compatible with the architecture of the Leased Property.

            Section 30.13 Waiver of Trial by Jury

        It is mutually agreed by and between Landlord and Tenant that the respective parties
hereto shall, and they hereby do, waive trial by jury in any action, proceeding or counterclaim
brought by either of the parties hereto against the other on any matter whatsoever arising out of
or in any way connected with this Lease, the relationship of Landlord and Tenant, Tenant’s use
of or occupancy of the Leased Property or any claim of injury or damage and any emergency
statutory or any other statutory remedy. If Landlord commences any summary proceeding for
nonpayment of Rent, Tenant will not interpose any counterclaim of whatever nature or
description in any such proceeding.

            Section 30.14 Relationship of Parties

       Nothing contained in this lease shall be deemed or construed by the parties to this Lease,
or by any third party, to create the relationship of principal and agent, partnership, joint venture,
lender and borrower, or any association between Landlord and Tenant, it being expressly
understood and agreed that neither the method of computing Rent hereunder nor any other
provisions contained in this Lease nor any acts of the parties to this Lease shall be deemed to
create any relationship between Landlord and Tenant, other than the leasehold relationship
contemplated hereby.

            Section 30.15 No Merger

        The parties agree that absent the express written consent of Landlord and Tenant, the fee
estate and the leasehold estate created by this Lease shall not merge during the Term, regardless
whether the same persons or entities are the owners of both estates.

                              [Signatures appear on the following page]

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                                         EXHIBIT A-1

                                 Legal Description of the Land

The land referred to herein is situated in the State of California County of Los Angeles, and
described as follows:

A leasehold interest in and to the buildings and improvements located on

PARCEL 1:

Those portions of Lots 5, 6 and 7 of Thomas and Farris Subdivision of Lot 1 and a portion of Lot
4, in Block “L” of the San Pasqual Tract in the City of Pasadena, as per map recorded in Book 10
Page 100 of Miscellaneous Records, in the Office of the County Recorder of said County,
described as a whole as follows:

Beginning at the intersection of the Southerly line of Colorado Street, 100 feet wide, with the
Westerly line of Mentor Avenue, 60 feet wide; thence North 89 59’ West along said Colorado
Street, 224.96 feet to the intersection of the Southerly line of said Colorado Street with the
Westerly line of said Lot 5; thence South along said Westerly line, 175.35 feet to the Southwest
corner of said Lot 5; thence along the Southerly line of said Lots 5, 6 and 7, South 89° 59’ East
224.96 feet to the Westerly line of said Mentor Avenue; thence North along said Mentor Avenue,
175.35 feet to the point of beginning.

PARCEL 2:

The Northerly 2 feet of Lot 8 of Thomas and Farris Subdivision of Lot 1 and a portion of Lot 4
in Block “L” of San Pasqual Tract, in the City of Pasadena, as per map recorded in Book 10 Page
100 of Miscellaneous Records, in the Office of the County Recorder of said County.

EXCEPT the Westerly 65 feet thereof.

Also excepting therefrom any fee interest in the land hereinabove described.



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                                  EXHIBIT A-2

                         Legal Description of the Building




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                                  EXHIBIT B

                                Existing Leases

                                    NONE




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                                         EXHIBIT C

                                    Operating Contracts

Parking Use Agreement dated as of April 29, 2014, by and between Landlord and 2 North Lake
JV, LLC, providing for the rental of 90 parking spaces by Landlord for use by the Leased
Property, for a term of 24 months, which agreement has been assigned to Tenant pursuant to that
certain Assignment and Assumption Agreement of Parking Agreement dated July 9, 2014.




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                                        EXHIBIT D

                                     Landlord’s Work

       Landlord is to complete all work described in that certain Construction Contract dated
May 27, 2011 by and between Landlord and Singpoli (Hop Kin) Construction and Decoration
(Nevada), Inc. and the plans and specifications referenced therein and in accordance with the
Historic Preservation Certification Application Part 2 – Description of Rehabilitation for the
Building as approved by the National Park Service.

                                           [FF&E]
                          [list FF&E to be supplied by Landlord and
                                FF&E to be supplied by Tenant]




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Exhibits:

EXHIBIT A - Legal Description of the Premises

EXHIBIT B - Existing Leases

EXHIBIT C - Operating Contracts

EXHIBIT D - Landlord’s Work




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                                     TENANT:

PARK PLACE MASTER TENANT, LLC, a California limited liability company

                                     By:    Manager of Park Place Master Tenant, LLC, a
                                            California limited liability company, its Manager




                                     By:-----------------
                                         Name: Kin Hui
                                         Title: Manager

                                     Consented to by:

                                     EAST WEST BANCORP, INC., a Delaware corporation



                                     By:_
                                        \~ _ -     -~-b½--t~-=-
                                         Name: Keith Kishiyama
                                         Title: Senior Vice President
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                    SECOND AMEND MENT OF LEASE DATED JU LY 28, 2014



        This SECOND AMENDMENT OF LEASE, is executed as of July 26, 2018, by and between
Park Place Commercial SPE, LLC, a Delaware limited liability company ("PPSPE"), as the successor in
interest to Park Place Commercial, LP, a California limited partnership ("PPC") pursuant to that
assignment dated April 18, 2018 by and between PPSPE and PPC ("Landlord"), and Park Place Master
Tenant, LLC, a California limited liability company ("Tenant").

                                                RECITALS

1.      Landlord and Tenant have entered into that certain lease dated July 28, 2014 and the first
amendment dated April 18, 2018 (collectively referred to herein as the "Lease") regarding property
located at 908 to 940 E Colorado Blvd., Pasadena, CA 91106 ("Property"). The Property is operated as
a hotel ("Hotel").

2.      The base rent schedule of the Lease, Article 4, is based on the Forecasted Financial Statement
and Schedules (And Supplementary Projection Information) for the Periods Beginning July 25, 2014 and
Ending December 31, 2046 prepared by Ruben Brown ("Initial Income Statement"). The initial lease
payment schedule was a function of the Initial Income Statement. Based on actual operation of the
Hotel since September of 2014, the Hotel soft opening date, the parties agreed that the Initial Income
Statement needs to be revised.

3.      The parties agree that it is in the best interest of all parties to update the Initial Income Statement
to reflect actual Hotel operations. As such, Ruben Brown has updated the income statement as of July 3,
2018 ("Updated Income Statement").

4.      Landlord and Tenant desire to amend the base rent schedule per the Updated Income Statement.

       NOW THEREFORE, in consideration of the premises, and for other good and valuable
consideration, the receipt and sufficiency of which are hereby acknowledged, the parties hereto hereby
amendment the Lease as follows:

        Section 4.1, Base Rent, is amended as follows:



              YEAR                              BASE RENT                    MONTHLY BASE RENT

 2017                                                       $969,240.00                            $80,770.00

 2018                                                       $998,317.00                            $83,193.08

 2019                                                     $1,028,267.00                            $85,688.92

 2020                                                     $1,059,115.00                            $88,259.58




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2021                                     $1,090,888.00               $90,907.33

2022                                     $1,123,615.00               $93,634.58

2023                                     $1,146,087.00               $95,507.25

2024                                     $1,157,548.00               $96,462.33

2025                                     $1,186,487.00               $98,873.92

2026                                     $1,216,149.00              $101,345.75

2027                                     $1,246,553.00              $103,879.42

2028                                     $1,277,716.00              $106,476.33

2029                                     $1,309,659.00              $109,138.25

2030                                     $1,342,401.00              $111,866.75

2031                                     $1,375,961.00              $114,663.42

2032                                     $1,410,360.00              $117,530.00

2033                                     $1,445,619.00              $120,468.25

2034                                     $1,481,759.00              $123,479.92

2035                                     $1,518,803.00              $126,566.92

2036                                     $1,556,773.00              $129,731.08

2037                                     $1,595,693.00              $132,974.42

2038                                     $1,635,585.00              $136,298.75

2039                                     $1,676,475.00              $139,706.25

2040                                     $1,718,386.00              $143,198.83

2041                                     $1,761,346.00              $146,778.83

2042                                     $1,805,380.00              $150,448.33

2043                                     $1,850,514.00              $154,209.50

2044                                     $1,896,777.00              $158,064.75

2045                                     $1,994,197.00              $166,183.08

2046                                     $1,992,801.00              $166,066.75



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       Counterparts. This Second Amendment may be executed in one or more counterparts, each of
which is an original, but all of which shall constitute one and the same instrument.

        Terms/Conflict: All other terms of the Lease not amended herein shall remain in full force and
effect as if fully incorporated herein. If any terms in this Amendment conflict with any terms in the
Lease, the terms in this Amendment shall prevail.



                          [SIGNATURE S ON THE FOLLOWING PAGES]




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  1
      I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
  2   address is: 10250 Constellation Boulevard, Suite 1700, Los Angeles, CA 90067

  3   A true and correct copy of the foregoing document entitled CHAPTER 7 TRUSTEE’S MOTION TO
      APPROVE COMPROMISE OF CONTROVERSY AND TO COMPEL TURNOVER OF POSSESSION
  4   OF ITEMS RELATED TO REAL PROPERTY; MEMORANDUM OF POINTS AND AUTHORITIES; AND
      DECLARATION IN SUPPORT THEREOF will be served or was served (a) on the judge in chambers in
  5   the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

  6   1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
      controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
  7   hyperlink to the document. On November 23, 2021, I checked the CM/ECF docket for this bankruptcy
      case or adversary proceeding and determined that the following persons are on the Electronic Mail
  8   Notice List to receive NEF transmission at the email addresses stated below:

  9            Hal D Goldflam hgoldflam@frandzel.com, dmoore@frandzel.com
               Rosendo Gonzalez (TR) rgonzalez@ecf.axosfs.com,
 10             rossgonzalez@gonzalezplc.com;jzavala@gonzalezplc.com;zig@gonzalezplc.com
               Dare Law dare.law@usdoj.gov
 11            Jeffrey B Smith jsmith@cgsattys.com, vphillips@cgsattys.com
               United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
 12            Reed S Waddell rwaddell@frandzel.com, sking@frandzel.com
               Craig A Welin cwelin@frandzel.com, bwilson@frandzel.com
 13
      2. SERVED BY UNITED STATES MAIL: On November 23, 2021, I served the following persons and/or
 14   entities at the last known addresses in this bankruptcy case or adversary proceeding by placing a true
      and correct copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and
 15   addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be
      completed no later than 24 hours after the document is filed.
 16   Park Place Master Tenant, LLC                                          Attorney for Debtor
      940 East Colorado Blvd                                                 Jeffrey B. Smith
 17   Pasadena, CA 91106                                                     301 E Ocean Blvd Ste 1700
                                                                             Long Beach, CA 90802
 18
      Office of the United States Trustee
 19   Attn: Dare Law
      915 Wilshire Blvd., Suite 1850
 20   Los Angeles, CA 90017
                                                                              Service information continued on attached page
 21
      3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR
 22   EMAIL (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR,
      on November 23, 2021, I served the following persons and/or entities by personal delivery, overnight
 23   mail service, or (for those who consented in writing to such service method), by facsimile transmission
      and/or email as follows. Listing the judge here constitutes a declaration that personal delivery on, or
 24   overnight mail to, the judge will be completed no later than 24 hours after the document is filed.

 25   None.

 26   I declare under penalty of perjury under the laws of the United States of America that the foregoing is
      true and correct.
 27
       November 23, 2021                     Stephanie Reichert                          /s/ Stephanie Reichert
 28    Date                                Type Name                                     Signature

       This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

      June 2012                                                                    F 9013-3.1.PROOF.SERVICE
